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                    Exhibit 5




                    Exhibit 5
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                        Latia Alexander, et al.

                                     v.

       Las Vegas Metropolitan Police Department, et al.



                              Transcript of

                         James Rothenburg
                                Volume I

                              July 17, 2024
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                                                                                       Page 1
  ·1· · · · · · · ·UNITED STATES DISTRICT COURT

  ·2· · · · · · · · · · DISTRICT OF NEVADA

  ·3

  ·4· ·LATIA ALEXANDER, individually as heir)
  · · ·of ISAIAH T. WILLIAMS and in her· · ·)
  ·5· ·capacity as Special Administrator of )
  · · ·the Estate of ISAIAH T. WILLIAMS,· · )
  ·6· · · · · · · · · · · · · · · · · · · · )
  · · · · · · · · ·Plaintiff,· · · · · · · ·)CASE NO.
  ·7· · · · · · · · · · · · · · · · · · · · )2:24-cv-00074-
  · · ·v.· · · · · · · · · · · · · · · · · ·)APG-NJK
  ·8· · · · · · · · · · · · · · · · · · · · )
  · · ·LAS VEGAS METROPOLITAN POLICE· · · · )
  ·9· ·DEPARTMENT, a political subdivision· )
  · · ·of the State of Nevada; KERRY KUBLA, )
  10· ·in his individual capacity; BRICE· · )
  · · ·CLEMENTS, in his individual capacity;)
  11· ·ALEX GONZALES, in his individual· · ·)
  · · ·capacity; RUSSELL BACKMAN, in his· · )
  12· ·individual capacity; JAMES· · · · · ·)
  · · ·ROTHENBURG, in his individual· · · · )
  13· ·capacity; JAMES BERTUCCINI, in his· ·)
  · · ·individual capacity; DOES I-XX,· · · )
  14· ·inclusive,· · · · · · · · · · · · · ·)
  · · · · · · · · · · · · · · · · · · · · · )
  15· · · · · · · ·Defendants.· · · · · · · )
  · · · · · · · · · · · · · · · · · · · · · )
  16

  17· · · · ·VIDEOTAPED DEPOSITION OF JAMES ROTHENBURG

  18· · · · · · ·Taken on Wednesday, July 17, 2024

  19· · · · · · · · · · · At 10:16 a.m.

  20· · · · · · · · At 400 South Seventh Street

  21· · · · · · · · · · ·Las Vegas, Nevada

  22

  23

  24· ·Job No. 56850, Firm No. 116F

  25· ·Reported by:· Tracy A. Manning, CCR 785



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                                                          2                                                              4
 ·1· ·APPEARANCES:                                            ·1· · · · · · · · ·WEDNESDAY, JULY 17, 2024
 ·2                                                           ·2
 ·3· ·For the Plaintiff:
                                                              ·3· · · · · · ·THE VIDEOGRAPHER:· Good morning.· This
 ·4· ·MURPHY'S LAW, PC
 · · ·BY:· CORRINE MURPHY, ESQ.                               ·4· ·begins the video recorded deposition of James
 ·5· ·2620 Regatta Drive                                      ·5· ·Rothenburg.· Today's date is July 17th, 2024.· The
 · · ·Suite 102                                               ·6· ·time on the video monitor is approximately
 ·6· ·Las Vegas, Nevada· 89128
                                                              ·7· ·10:16 a.m.· We are located at 400 South Seventh
 · · ·cmurphyslawattorney@gmail.com
 ·7· ·(702) 820-5763                                          ·8· ·Street in Las Vegas, Nevada.
 ·8                                                           ·9· · · · · · ·This case is entitled Latia Alexander, et
 ·9· ·For the Defendants:                                     10· ·al. versus Las Vegas Metropolitan Police Department,
 10· ·MARQUIS AURBACH
                                                              11· ·et al.· The case number is 2:24-cv-00074-APG-NJK in
 · · ·BY:· CRAIG R. ANDERSON, ESQ.
                                                              12· ·the United States District Court, District of
 11· ·10001 Park Run Drive
 · · ·Las Vegas, Nevada· 89145                                13· ·Nevada.
 12· ·canderson@maclaw.com                                    14· · · · · · ·My name is Dawn Beck, legal videographer.
 · · ·(702) 382-0711                                          15· ·The court reporter is Tracy Manning.· We represent
 13
                                                              16· ·Lexitas.
 14
 15· ·The Videographer:· Dawn Beck                            17· · · · · · ·Would counselors please state your
 16                                                           18· ·appearance for the record and whom you represent?
 17                                                           19· · · · · · ·MS. MURPHY:· Good morning.· Corrine
 18
                                                              20· ·Murphy, Bar No. 10410 on behalf of plaintiff.
 19
 20                                                           21· · · · · · ·MR. ANDERSON:· Craig Anderson on behalf of
 21                                                           22· ·the defendants.
 22                                                           23· · · · · · ·THE VIDEOGRAPHER:· Thank you.
 23
                                                              24· · · · · · ·Would the court reporter please swear in
 24
 25                                                           25· ·the witness.


                                                          3                                                              5
 ·1· · · · · · · · · · · · ·I N D E X                         ·1· · · · · · · · · · ·JAMES ROTHENBURG
 ·2· ·WITNESS· · · · · · · · · · · · · · · · · · · PAGE
                                                              ·2· · · · · · · · · having been duly sworn,
 ·3· ·JAMES ROTHENBURG
 ·4
                                                              ·3· · · · · was examined and testified as follows:
 ·5                                                           ·4
 ·6· · · · Examination by Ms. Murphy· · · · · · · · · 5       ·5· · · · · · · · · · · · EXAMINATION
 ·7                                                           ·6· ·BY MS. MURPHY:
 ·8
                                                              ·7· · · · Q.· ·Let the record reflect this is the time
 ·9· · · · · · · · · · · E X H I B I T S
 10· ·NUMBER· · · · · · · · · · · · · · · · · · · ·PAGE
                                                              ·8· ·and the place of the deposition of James Rothenburg
 11· ·1· · Notice of videotaped deposition of· · · · ·6       ·9· ·in the matter of Latia Alexander, et al., versus
 · · · · · James Rothenburg, 3 pages                          10· ·Las Vegas Metropolitan Police, et al.
 12                                                           11· · · · · · ·Mr. Rothenburg, my name is Corrine Murphy,
 · · ·2· · Excerpt of Las Vegas Metropolitan· · · · ·32
                                                              12· ·and I'm an attorney.· And I -- as I just stated, I
 13· · · · Police Department, Special Weapons and
 · · · · · Tactics, Bates stamped LVMPD 001490 -
                                                              13· ·represent plaintiff Latia Alexander in this case.
 14· · · · LVMPD 001491, 2 pages                              14· · · · · · ·Could you please state and spell your full
 15· ·3· · Excerpt of CIRT report, 1 page· · · · · · 92       15· ·name for the record?
 16· ·4· · Excerpt of CIRT report, Bates stamped· · ·93       16· · · · A.· ·James Rothenburg, J-a-m-e-s
 · · · · · LVMPD 004271, 1 page, marked
                                                              17· ·R-o-t-h-e-n-b-u-r-g.
 17· · · · confidential
 18· ·5· · Excerpt of CIRT report, Bates stamped· · ·96
                                                              18· · · · Q.· ·Do you have a middle name?
 · · · · · LVMPD 004405, 1 page, marked                       19· · · · A.· ·I do.· Ernest, E-r-n-e-s-t.
 19· · · · confidential                                       20· · · · Q.· ·Okay.· Have you ever been known by any
 20                                                           21· ·other names?
 21
                                                              22· · · · A.· ·No.
 22
 23
                                                              23· · · · Q.· ·Okay.· And we have noticed you to be here
 24                                                           24· ·today.· Have you -- did you ever have an opportunity
 25                                                           25· ·to review the notice of deposition that was served


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 ·1· ·on you?                                                ·1· ·give your best and most truthful testimony?
 ·2· · · · A.· ·I have.                                      ·2· · · · A.· ·No.
 ·3· · · · Q.· ·Okay.                                        ·3· · · · Q.· ·Okay.· Are you -- and I'm going to
 ·4· · · · · · ·And can we attach that?· I don't have one    ·4· ·follow -- are you under any medications or anything
 ·5· ·with me, but can we attach that as Exhibit 1 to        ·5· ·that would inhibit your ability to give honest and
 ·6· ·today's deposition transcript?                         ·6· ·reliable testimony today?
 ·7· · · · · · ·THE REPORTER:· Yes.                          ·7· · · · A.· ·No.
 ·8· · · · · · ·MS. MURPHY:· I'll provide that later.        ·8· · · · Q.· ·Can you please tell me everything that you
 ·9· · · · (Exhibit No. 1 was marked at a later time.)       ·9· ·did to prepare for today's deposition?
 10· ·BY MS. MURPHY:                                         10· · · · A.· ·I reviewed some of the files that was
 11· · · · Q.· ·And that you are -- you understand that we   11· ·given to me, talked to my legal counsel.· We
 12· ·are here today to discuss the officer-involved         12· ·reviewed some body-worn camera video from the
 13· ·shooting of Isaiah Williams that occurred on           13· ·incident.· Briefly reviewed the transcripts from
 14· ·January 10, 2022?                                      14· ·previous interviews I had given.
 15· · · · A.· ·Yes.                                         15· · · · Q.· ·Okay.· And I don't want to know what you
 16· · · · Q.· ·Have you ever given a deposition before?     16· ·talked about with Mr. Anderson.· That's
 17· · · · A.· ·Yes.                                         17· ·attorney-client privilege.· But I just want -- but
 18· · · · Q.· ·When -- when are the other instances         18· ·what I am entitled to know and what I do want to
 19· ·you've given a deposition?                             19· ·know is just a specific rundown of which documents
 20· · · · A.· ·Various court cases throughout my career.    20· ·you looked at.
 21· · · · Q.· ·In the last five years have you given a      21· · · · · · ·So, there was a couple different
 22· ·deposition?                                            22· ·interviews that you provided.· Did you look at both
 23· · · · A.· ·Five years, no.                              23· ·the FIT interview and the CIRT interview?
 24· · · · Q.· ·Okay.· So when was the last time that you    24· · · · A.· ·Yes.
 25· ·remember giving a deposition?                          25· · · · · · ·MS. MURPHY:· And that's F-I-T, it's an

                                                        7                                                           9

 ·1· · · · A.· ·2015, I believe.                             ·1· ·acronym, and it's C-I-R-T.
 ·2· · · · Q.· ·Okay.· And what was your involvement in      ·2· · · · Q.· ·You reviewed both those transcripts?
 ·3· ·that case?                                             ·3· · · · A.· ·Yes.
 ·4· · · · A.· ·I was arresting officer.                     ·4· · · · Q.· ·Okay.· In reviewing those transcripts, as
 ·5· · · · Q.· ·And so were you named as a defendant?        ·5· ·we sit here today, was there anything that when you
 ·6· ·Were you a party in the case or were you simply the    ·6· ·reviewed them did not recollect with -- did not
 ·7· ·arresting officer?                                     ·7· ·coincide with your memory as you sat -- as when
 ·8· · · · A.· ·No, just the arresting officer.              ·8· ·you -- sorry, strike that.· Let me ask it again.
 ·9· · · · Q.· ·Okay.· And do you remember what that case    ·9· · · · · · ·As you reviewed those transcripts recently
 10· ·name was?                                              10· ·of your interviews for CIRT and for FIT, was there
 11· · · · A.· ·I don't recall.                              11· ·anything that you did not remember or you were
 12· · · · Q.· ·So would it be fair to qualify you as a      12· ·surprised as you read it?
 13· ·witness in that case?                                  13· · · · A.· ·No.
 14· · · · A.· ·Yes.                                         14· · · · Q.· ·So the -- is it fair for me to assume that
 15· · · · Q.· ·Okay.· All right.· And other than that       15· ·the transcripts you read were consistent with your
 16· ·case, in the last -- well, that was almost nine        16· ·memory as we sit here today?
 17· ·years ago, are there -- in the last ten years, have    17· · · · A.· ·Yes.
 18· ·there been any other cases where you were called       18· · · · Q.· ·Other than the body-worn camera, the FIT
 19· ·providing your deposition?                             19· ·interview, and the CIRT interview, were there any
 20· · · · A.· ·No.                                          20· ·other documents that you reviewed in preparation for
 21· · · · Q.· ·Have you testified in the last ten years?    21· ·today's deposition?
 22· ·Have you testified in court?                           22· · · · A.· ·Yeah.· Las Vegas Metropolitan Police
 23· · · · A.· ·Ten years.· I do not believe so.             23· ·Department policy on search warrants.
 24· · · · Q.· ·Okay.· Is there any reason today that you    24· · · · Q.· ·And when you say "policy on search
 25· ·would not be able to understand my questions and       25· ·warrants," do you mean the policy on search warrants


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 ·1· ·or do you mean the policy on, like, CET entry or       ·1· ·your supervisor, then.
 ·2· ·knock and announce or was it just the policy on        ·2· · · · A.· ·Yes, that I had a deposition, yeah.
 ·3· ·search warrants?                                       ·3· · · · Q.· ·Okay.· We have taken the deposition of a
 ·4· · · · A.· ·The policy on search warrants, which         ·4· ·couple other SWAT officers.· Have you discussed
 ·5· ·encompasses some of that information.                  ·5· ·their deposition with them at all?
 ·6· · · · Q.· ·Okay.· Any other documents?                  ·6· · · · A.· ·No.
 ·7· · · · A.· ·And then a -- an older copy, because I       ·7· · · · Q.· ·Okay.· Do you still work with -- we
 ·8· ·don't have a current one, of the SWAT section          ·8· ·have -- I've deposed Alex -- Alex Gonzales, and then
 ·9· ·manual, I believe it was from 2019, that outlines      ·9· ·my co-counsel deposed Officer Bertuccini.· Have
 10· ·search warrant services.                               10· ·you -- did you discuss their depositions with them
 11· · · · Q.· ·Okay.· And do you understand that part of    11· ·at all?
 12· ·our case, part of plaintiff's case in this matter,     12· · · · A.· ·No.
 13· ·is that this search warrant was improperly served?     13· · · · Q.· ·Okay.· Did you bring any of the documents
 14· · · · A.· ·I'm aware.                                   14· ·that you reviewed with you today?
 15· · · · Q.· ·Okay.· What's your position on that?         15· · · · A.· ·No.
 16· · · · A.· ·I mean, it depends on what's being argued    16· · · · Q.· ·Okay.· Did you review any of the -- the
 17· ·for the service exactly, specifically.                 17· ·statements of any of the other police officers in
 18· · · · Q.· ·Do you think that the manner in which the    18· ·this case?
 19· ·search warrant was served was in compliance with the   19· · · · A.· ·No.
 20· ·laws as it was in 2022?                                20· · · · Q.· ·I'm going to go down -- do you remember
 21· · · · A.· ·Yes.                                         21· ·answering interrogatories and Requests For
 22· · · · Q.· ·Okay.· Did you bring any documents --        22· ·Productions?
 23· ·sorry.· Were there any other documents that you        23· · · · A.· ·Yes.
 24· ·reviewed?                                              24· · · · Q.· ·Okay.· Did you review those documents at
 25· · · · A.· ·No.                                          25· ·all to prepare for today's deposition?

                                                       11                                                          13
 ·1· · · · Q.· ·Okay.· And like I said, I'm not entitled     ·1· · · · A.· ·Yes.
 ·2· ·and I don't want to know what you spoke about with     ·2· · · · Q.· ·Okay.· And so, I know it's hard to keep
 ·3· ·your lawyer, but I am entitled to know, and I do       ·3· ·track, but I'm going to ask one more time.· You can
 ·4· ·want to know how long you met with Mr. Anderson for.   ·4· ·take a moment to think about it.
 ·5· ·He can't answer for you.                               ·5· · · · · · ·Were there any other documents that you
 ·6· · · · A.· ·Hour?                                        ·6· ·may have -- that you -- that you reviewed to prepare
 ·7· · · · Q.· ·An hour?· Okay.                              ·7· ·for today's deposition?
 ·8· · · · A.· ·Probably -- no, probably two.                ·8· · · · A.· ·No.
 ·9· · · · Q.· ·Okay.· He -- Mr. Anderson, not that he's     ·9· · · · Q.· ·Okay.· In having reviewed both the answers
 10· ·trying to be evasive or non- --                        10· ·to the interrogatories -- your answers to the
 11· · · · A.· ·No, I know, I know.· I've got to answer,     11· ·interrogatories and your answers to the Request For
 12· ·yeah.                                                  12· ·Production, as we sit here today, is there anything
 13· · · · Q.· ·It's -- although this is an informal         13· ·that you wanted to change or modify in those
 14· ·setting to a certain degree, it's still like --        14· ·answers?
 15· · · · A.· ·It's still -- yeah.                          15· · · · A.· ·No.
 16· · · · Q.· ·It's like you're up on the witness stand     16· · · · Q.· ·Okay.· So, now I'm going to go over some
 17· ·and you've got to answer the questions.                17· ·background questions --
 18· · · · · · ·All right.· Did you discuss -- other than    18· · · · A.· ·Okay.
 19· ·Mr. Anderson or anyone from his office, did you        19· · · · Q.· ·-- that kind of were in your
 20· ·discuss today's deposition with anyone else?           20· ·interrogatories.· But I want to -- I'm creating the
 21· · · · A.· ·No.                                          21· ·record, so I'm going to march over some familiar
 22· · · · Q.· ·Okay.· Does your supervisor know that        22· ·ground on that, okay?
 23· ·you're here today?                                     23· · · · A.· ·Okay.
 24· · · · A.· ·Yes.                                         24· · · · Q.· ·Where are you from?
 25· · · · Q.· ·Okay.· So you obviously discussed it with    25· · · · A.· ·I'd call New York home, upstate New York.


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 ·1· · · · Q.· ·How long ago did you move to Nevada?         ·1· ·deposed in this court, he was -- he previously was
 ·2· · · · A.· ·16 -- 16 and a half years ago.               ·2· ·part of the explosives breach team.· So he had some
 ·3· · · · Q.· ·Okay.· And you're currently living here in   ·3· ·certifications about explosive handling.
 ·4· ·Nevada; is that correct?                               ·4· · · · A.· ·Oh, yes.· Yeah.
 ·5· · · · A.· ·Yes.                                         ·5· · · · Q.· ·Okay.
 ·6· · · · Q.· ·And do you have any intention of moving?     ·6· · · · A.· ·Yeah.
 ·7· · · · A.· ·No.                                          ·7· · · · Q.· ·Do you have any, like, specialized
 ·8· · · · Q.· ·Okay.· Were you -- if you moved here 16      ·8· ·certifications like those?· Beyond just, like --
 ·9· ·years ago, where did you go to high school?            ·9· ·like I said, I've seen that you've done a lot of
 10· · · · A.· ·In New York.                                 10· ·continuing education --
 11· · · · Q.· ·Okay.· And you have -- you have -- you       11· · · · A.· ·Yeah.
 12· ·have advanced educational -- you got -- sorry,         12· · · · Q.· ·-- but any, like, specific certifications?
 13· ·strike that.                                           13· · · · A.· ·Yeah.· As far as explosive -- explosive
 14· · · · · · ·You have education beyond high school,       14· ·breach and stuff goes, yes, quite --
 15· ·correct?                                               15· · · · Q.· ·Okay.
 16· · · · A.· ·Correct.                                     16· · · · A.· ·-- quite a few.
 17· · · · Q.· ·Can you please lay out for me your           17· · · · Q.· ·Okay.· Is it fair to say that you're
 18· ·educational background beyond high school?             18· ·comfortable doing explosive breaches?
 19· · · · A.· ·I have a Bachelor's degree in business       19· · · · A.· ·Yes.
 20· ·management, and then I have a Master's degree in       20· · · · Q.· ·Okay.· Are you a member of any
 21· ·administrative leadership.                             21· ·professional organizations related to your
 22· · · · Q.· ·And what is administrative leadership?       22· ·profession?
 23· · · · A.· ·It just covers varying leadership            23· · · · A.· ·(Indiscernible.)
 24· ·philosophies in administrative setting, government     24· · · · · · ·THE REPORTER:· Pardon me?
 25· ·setting.                                               25· · · · · · ·THE WITNESS:· Fraternal Order of Police,

                                                       15                                                          17
 ·1· · · · Q.· ·And where did you obtain that Master's       ·1· ·FOP.
 ·2· ·from?                                                  ·2· ·BY MS. MURPHY:
 ·3· · · · A.· ·University of Oklahoma.                      ·3· · · · Q.· ·Is that like a union membership or --
 ·4· · · · Q.· ·Okay.· Did you actually attend there or      ·4· · · · A.· ·Association, yes.· More or less.
 ·5· ·did you do it remotely?                                ·5· · · · Q.· ·And can you please tell me what is your
 ·6· · · · A.· ·Remote.                                      ·6· ·current -- current position?
 ·7· · · · Q.· ·Okay.· And when did you obtain your          ·7· · · · A.· ·Police sergeant.
 ·8· ·Master's?                                              ·8· · · · Q.· ·Are you still on SWAT?
 ·9· · · · A.· ·2017, I believe.· August of 2017, I          ·9· · · · A.· ·No.
 10· ·believe I finished.                                    10· · · · Q.· ·Okay.· When did you leave SWAT?
 11· · · · Q.· ·Okay.· And are you -- do you have any        11· · · · A.· ·I left in May of '23, last year.
 12· ·other -- other than those two degrees, do you have     12· · · · Q.· ·And why did you leave?
 13· ·any other type of, like, certifications?· And let      13· · · · A.· ·I was promoted to sergeant.
 14· ·me -- let me clarify that, because I have              14· · · · Q.· ·And what unit are you currently serving
 15· ·reviewed -- you've taken, like, ten million courses    15· ·in?
 16· ·through SWAT and LVMPD.· So I don't mean maybe,        16· · · · A.· ·Internal Affairs Bureau.
 17· ·like, you know, I'm not asking if you're, like,        17· · · · Q.· ·Okay.· And prior to your promotion to
 18· ·certified in first aid.· I'm asking if you have any,   18· ·sergeant and your transfer to Internal Affairs, how
 19· ·like, specific certifications for anything that        19· ·long had you been with SWAT?
 20· ·would allow you to do your job that is beyond, like,   20· · · · A.· ·Previous to that, just under eight years.
 21· ·a couple-week course.· Do you know what -- do you      21· ·Would have been seven years and eight months.
 22· ·want me to give you an example?                        22· · · · Q.· ·That is a very specific answer.
 23· · · · A.· ·Sure.· Give me an example.                   23· · · · A.· ·Nine months?· Nine months?· Yeah.· I just
 24· · · · Q.· ·Okay.· So, like, some of the -- some of      24· ·remember it was end of September in 2015.· So, yeah.
 25· ·the other -- another officer that I -- that I          25· ·May '23.


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                                                       18                                                          20
 ·1· · · · Q.· ·And what -- and I know that there's, like,   ·1· ·more or less.· Handle the day-to-day, out in the
 ·2· ·some different team colors and different positions.    ·2· ·street, kind of on-the-job training, more or less.
 ·3· ·You know, I'm a layperson.· So can you kind of walk    ·3· · · · Q.· ·And so -- Field Training Officer, so does
 ·4· ·me through, like, what your team -- as best as you     ·4· ·that mean that you would be, like, on patrol and
 ·5· ·can to a layperson, what kind of team you were on      ·5· ·then you would bring training police officers with
 ·6· ·and kind of what your day-to-day looked like being a   ·6· ·you?
 ·7· ·member of the SWAT team in 2022.                       ·7· · · · A.· ·Correct.
 ·8· · · · A.· ·There's just -- there's -- there was two     ·8· · · · Q.· ·Okay.· And then you went to being a patrol
 ·9· ·teams, red and blue.· But the colors have changed a    ·9· ·officer; is that correct?
 10· ·couple times over the years, just depending on the     10· · · · A.· ·Patrol officer first, then Field Training
 11· ·leadership in place.· So, typically it's been red      11· ·Officer.
 12· ·team, and those are just associated with the days      12· · · · Q.· ·Okay.
 13· ·off.· So, the other team is blue.· So I'd primarily    13· · · · A.· ·Yeah.
 14· ·been on red team the entire time.· I think             14· · · · Q.· ·Oh, sorry.· All right.· How long were you
 15· ·previous -- or after red team, initially it was gold   15· ·a patrol officer for?· And by the way --
 16· ·team and then it went back to red.                     16· · · · A.· ·About six years.
 17· · · · Q.· ·So the color classifications have to do      17· · · · Q.· ·I was going to say, you're doing an
 18· ·with your days on and day off --                       18· ·excellent job giving me very specific answers.· But
 19· · · · A.· ·Correct.                                     19· ·you can also give me rough estimates to the best of
 20· · · · Q.· ·Not, like, duties within SWAT.               20· ·your memory.· Okay.
 21· · · · A.· ·Correct, yeah.                               21· · · · · · ·So six years.· And how long have you been
 22· · · · Q.· ·Okay.· Did you have -- were you -- would     22· ·with LVMPD total?
 23· ·it be qualified as you're a SWAT officer or is there   23· · · · A.· ·In about three weeks it will be 16 years.
 24· ·any subspecialty within SWAT?                          24· ·Two weeks it will be 16 years.
 25· · · · A.· ·Yeah.· So, SWAT officer, and then one of     25· · · · Q.· ·Okay.· And you were patrol for six years,

                                                       19                                                          21
 ·1· ·the explosive breachers or breachers.· Yeah.           ·1· ·and then how long, approximately, were you a Field
 ·2· · · · Q.· ·And were you an explosive breacher for the   ·2· ·Training Officer?
 ·3· ·entire seven years and nine months you were on SWAT?   ·3· · · · A.· ·About a year and a half.
 ·4· ·Or had you gained that specialty, like, kind of        ·4· · · · Q.· ·Okay.· And from there were you promoted to
 ·5· ·sub-position as you were going through?                ·5· ·SWAT?
 ·6· · · · A.· ·Yeah, I gained it after about two years      ·6· · · · A.· ·Yes.
 ·7· ·there.                                                 ·7· · · · Q.· ·And when I say promoted, that's a fair
 ·8· · · · Q.· ·Okay.· So, would it be fair for me to --     ·8· ·assumption for me to assume, correct?· That's a
 ·9· ·for me to assume that for about five years and nine    ·9· ·promotion to get on SWAT?
 10· ·months you had that kind of subspecialty?              10· · · · A.· ·It's a testable position, so, yeah.
 11· · · · A.· ·Yes.                                         11· · · · Q.· ·Okay.· What did you have to do in order to
 12· · · · Q.· ·Okay.                                        12· ·test to get on to SWAT?
 13· · · · A.· ·Yeah.                                        13· · · · A.· ·At the time, it involved shooting test, so
 14· · · · Q.· ·And on January 10, 2022, the day of the      14· ·shooting qualification test, (indiscernible) test,
 15· ·officer-involved shooting, you also had that           15· ·confined --
 16· ·subspecialty, correct?                                 16· · · · · · ·THE REPORTER:· Wait.· It sounded like pie?
 17· · · · A.· ·Correct.                                     17· ·BY MS. MURPHY:
 18· · · · Q.· ·Okay.· And prior to being on SWAT, what      18· · · · Q.· ·Did you say height test?
 19· ·position did you hold at Las Vegas Metropolitan        19· · · · A.· ·Yeah.· Height test.· Like, going to the
 20· ·Police Department?                                     20· ·top of a tower and looking over kind of thing, yeah.
 21· · · · A.· ·I was a Field Training Officer and then      21· · · · Q.· ·I was, like, do you have to be a certain
 22· ·patrol officer.                                        22· ·height to be on SWAT?
 23· · · · Q.· ·What's a Field Training Officer?             23· · · · A.· ·Repelling, stuff like that.· Yeah,
 24· · · · A.· ·Field Training Officer basically is you're   24· ·regarding that.· So there's a height test, which I
 25· ·teaching new officers how to be a police officer,      25· ·know they've since removed.· They actually did a


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 ·1· ·balance test, confined space test.· There was a        ·1· ·reasonable meant to you -- or means to you?
 ·2· ·physical fitness test, an obstacle course.· There      ·2· · · · A.· ·I guess reasonable, what's commonly
 ·3· ·was also an assessment center, which was scenario      ·3· ·accepted, what everybody would think is commonly
 ·4· ·based.· And then the final part was a panel            ·4· ·accepted.· You know, a reasonable time to act on
 ·5· ·interview.· Or oral board.                             ·5· ·something.· If something -- something was occurring.
 ·6· · · · Q.· ·Did you have to take any, like, written      ·6· · · · Q.· ·Okay.· And so -- and I know that these
 ·7· ·tests?                                                 ·7· ·questions are a little all encompassing.
 ·8· · · · A.· ·No.                                          ·8· · · · A.· ·No problem.
 ·9· · · · Q.· ·Okay.· So is it fair to say that it was --   ·9· · · · Q.· ·And so I'm kind of trying to drill down a
 10· ·well, you tell me.· Is it mostly, like, it's --        10· ·little bit --
 11· ·based on what you described, it seems like they want   11· · · · A.· ·Okay.
 12· ·to make sure that you have a certain level of          12· · · · Q.· ·-- and I'd like your help with that.
 13· ·physicality, for lack of a better term, and ability    13· · · · · · ·So when you say reasonable amount of time,
 14· ·to act within the field; is that fair?                 14· ·were you ever given, like, a minimum amount of time
 15· · · · A.· ·Correct.                                     15· ·that you had to wait?· Were you ever --
 16· · · · Q.· ·Okay.· Is it competitive to get on SWAT?     16· · · · A.· ·No.
 17· · · · A.· ·Very.                                        17· · · · Q.· ·Okay.· And so, is it fair for me to
 18· · · · Q.· ·Okay.· So with that in mind, I would like    18· ·assume -- was there any -- did you ever get any
 19· ·you to tell me what -- and if it's different today     19· ·training on, like, hey, depending on what you're
 20· ·than it was in 2022, I want you to tell me what your   20· ·going after or who you're going after, the
 21· ·understanding was in 2022.· If it differs from         21· ·reasonable scope of time may be different?
 22· ·today, then I'll ask you what it was today -- what     22· · · · A.· ·Yes.
 23· ·it is today.· Can you please tell me what knock and    23· · · · Q.· ·Okay.· And so can you kind of walk me
 24· ·announce means to you?                                 24· ·through what your understanding of that was?
 25· · · · A.· ·So, knock and announce, the way that I       25· · · · A.· ·I mean, it would depend -- again, it's --

                                                       23                                                          25
 ·1· ·interpret it, is knocking, physically knocking.        ·1· ·I think it's all scenario dependent, scenario based,
 ·2· ·Whether that be -- well, knocking, you know, using a   ·2· ·given what it is.· Is -- you know, is there a, you
 ·3· ·PA system, you know, alerting somebody of your         ·3· ·know -- what is the threat or what is happening, you
 ·4· ·presence, right?· So knocking and then announcing --   ·4· ·know?· Is there -- do we need to move faster or do
 ·5· ·also announcing your presence.                         ·5· ·we need to move slower based off the circumstance.
 ·6· · · · Q.· ·Okay.                                        ·6· · · · Q.· ·Okay.· And I'm going to walk you through
 ·7· · · · A.· ·So, hey, we're here.· It's the police.       ·7· ·the entire incident.· We're going to watch the
 ·8· ·That type of thing.                                    ·8· ·video, too.· But I know that you have reviewed all
 ·9· · · · Q.· ·And as we sit here today, do you have any    ·9· ·these different documents and the video in order to
 10· ·understanding of any parameters for how often or how   10· ·prepare for today's deposition.
 11· ·long you have to announce your presence?               11· · · · · · ·Having reviewed all those different pieces
 12· · · · A.· ·Says a reasonable time, but that's           12· ·of evidence, do you think that there was a
 13· ·debatable what that time frame is, I believe.· Given   13· ·reasonable amount of time between the first knock
 14· ·the circumstance.                                      14· ·and when the door was breached in this case?
 15· · · · Q.· ·Okay.· And I just want to make sure.         15· · · · A.· ·Yes.
 16· ·Because we're a couple years from the incident.· If    16· · · · Q.· ·Okay.· And was the amount of time
 17· ·you say reasonable time, is that your same             17· ·consistent with the training that you had been given
 18· ·understanding of -- in 2022?                           18· ·through LVMPD and SWAT?
 19· · · · A.· ·Yes.                                         19· · · · A.· ·Yes.
 20· · · · Q.· ·Okay.· Did you ever have any specific        20· · · · Q.· ·And I just want to confirm one more time.
 21· ·training through either LVMPD or SWAT that there --    21· ·To your knowledge, you were never provided any
 22· ·that there had to be certain timelines that were       22· ·training that there had -- there was a minimum
 23· ·met, or was it just a reasonable amount of time?       23· ·amount of time that you had to wait; is that
 24· · · · A.· ·Just reasonable.                             24· ·correct?
 25· · · · Q.· ·And can you please explain to me what        25· · · · A.· ·That's correct.


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  ·1· · · · Q.· ·Okay.· And you explained to me kind of       ·1· · · · Q.· ·In performing your job as a police
  ·2· ·what knock and announce means to you.· But can you     ·2· ·officer, do you agree with me that you have a duty
  ·3· ·tell me, from your understanding as a police           ·3· ·to conduct yourself such that you do not violate the
  ·4· ·officer, what's the purpose of knock and announce?     ·4· ·civil or constitutional rights of members of the
  ·5· · · · · · ·MR. ANDERSON:· Objection, form.              ·5· ·public?
  ·6· · · · · · ·Go ahead, sir.· Just ignore me when I        ·6· · · · A.· ·Yes.
  ·7· ·object.· I'm here for the record.                      ·7· · · · Q.· ·Okay.· Do you also agree that if you see
  ·8· · · · · · ·THE WITNESS:· Got you --                     ·8· ·other officers violating the civil or constitutional
  ·9· · · · · · ·MR. ANDERSON:· -- to answer questions.       ·9· ·rights of the members of the public, you have a duty
  10· ·BY MS. MURPHY:                                         10· ·to intervene and stop that officer?
  11· · · · Q.· ·Yeah, sorry.· Just to let you know,          11· · · · A.· ·Yes.
  12· ·there's no judge here.· I'm sure --                    12· · · · Q.· ·And can you tell me, as a -- kind of as a
  13· · · · A.· ·Right, right.                                13· ·contrast, what is a no-knock warrant?
  14· · · · Q.· ·Yeah.· You've been in court.· And            14· · · · A.· ·So, a no-knock is not giving the person or
  15· ·normally, when an attorney will object, a judge will   15· ·subjects any notice that it's the police whatsoever.
  16· ·comment on it right away.· We don't have a judge       16· · · · Q.· ·And why would some warrants be no-knock
  17· ·here.                                                  17· ·and some be knock and announce?
  18· · · · · · ·So what happens is, Mr. Anderson says his    18· · · · A.· ·It would depend on the severity of the
  19· ·objection for the record.· Later, if necessary, we     19· ·crime, what the investigation is for.· I mean,
  20· ·can fight over it with a judge.                        20· ·there's numerous factors.
  21· · · · A.· ·Okay.                                        21· · · · Q.· ·Okay.· In your experience, are property
  22· · · · Q.· ·But he's just going to state his objection   22· ·only search warrants ever no-knock?
  23· ·and then you answer.· If he wants you not to answer,   23· · · · A.· ·No.
  24· ·he'll tell you.· So just assume he's saying his        24· · · · Q.· ·Okay.· So would it be fair -- and I know
  25· ·objection, and then you can go ahead and answer the    25· ·that I'm kind of asking you some broad questions,

                                                        27                                                          29
  ·1· ·question.                                              ·1· ·and so I'm going to try to drill on it a little bit
  ·2· · · · A.· ·Okay.                                        ·2· ·more.
  ·3· · · · Q.· ·Okay.· And sorry, just to state that one     ·3· · · · · · ·So no-knock would only be for, like, an
  ·4· ·more time, what is your understanding of the purpose   ·4· ·arrest warrant, correct?
  ·5· ·of knock and announce?                                 ·5· · · · A.· ·I wouldn't say just that.· I mean, it
  ·6· · · · A.· ·To notify somebody of our presence.          ·6· ·could be -- it could be several things.
  ·7· · · · Q.· ·Does a citizen have a right to know that a   ·7· · · · Q.· ·Okay.
  ·8· ·police officer is trying to gain entry?                ·8· · · · A.· ·Yeah.
  ·9· · · · A.· ·In a knock and announce, yes.                ·9· · · · Q.· ·But it wouldn't be a warrant that was for
  10· · · · Q.· ·Okay.· Does a citizen have a right to open   10· ·property search and seizure only, correct?
  11· ·a door or to allow a police officer entry -- entry     11· · · · A.· ·Not likely, no.
  12· ·before the property is destroyed?                      12· · · · Q.· ·And we're going to lay the groundwork for
  13· · · · A.· ·Say that again, I'm sorry.                   13· ·this.· I know you've talked about it in part of the
  14· · · · Q.· ·Let me rephrase that.                        14· ·CIRT and FIT interview.· But what is a CET entry?
  15· · · · A.· ·Yeah.                                        15· ·And CET is an acronym, it's C-E-T.
  16· · · · Q.· ·Does a citizen have a right to allow entry   16· · · · A.· ·What is a CET entry?
  17· ·before property is destroyed?· And by property, I      17· · · · Q.· ·Correct.
  18· ·mean -- I don't mean, like, evidence that the police   18· · · · A.· ·Controlled Entry Tactic.
  19· ·officers are trying to -- sorry, you're saying no?     19· · · · Q.· ·Oh, is it -- I don't -- I always thought
  20· · · · A.· ·Correct, no.· Yeah.                          20· ·it was pronounced -- I just thought it was called
  21· · · · Q.· ·Okay.· But you do understand that part of    21· ·CET, like --
  22· ·a person's constitutional and civil rights is to       22· · · · A.· ·No, CET is --
  23· ·have clear notice of a police officer's intent to      23· · · · Q.· ·My bad.
  24· ·enter, correct?                                        24· · · · A.· ·Yeah.· I was, like, CET?· I was, like,
  25· · · · A.· ·Correct.                                     25· ·uh-oh.· I don't know that one.


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  ·1· · · · Q.· ·This is a test.                              ·1· · · · A.· ·Yeah.· So Controlled Entry is -- we're
  ·2· · · · A.· ·Controlled Entry Tactic.                     ·2· ·going to make entry into the premise beforehand.· We
  ·3· · · · Q.· ·Okay.· Can you please tell me what is a --   ·3· ·know we're going to.· And then a Surround and
  ·4· ·what is a Controlled Entry Tactic?                     ·4· ·Callout would be, again, surrounding whatever it is,
  ·5· · · · A.· ·It's basically what it means.· I mean,       ·5· ·the structure, and calling the occupants out before
  ·6· ·we're making a controlled entry into a premise.        ·6· ·making an entry.
  ·7· · · · Q.· ·Okay.                                        ·7· · · · Q.· ·Okay.· And to confirm in this case, with
  ·8· · · · A.· ·Whether that be a business, house,           ·8· ·the service of the warrant on this apartment, this
  ·9· ·apartment.                                             ·9· ·was a CET entry, correct?
  10· · · · Q.· ·And so what -- sorry.· What is a             10· · · · A.· ·Correct.
  11· ·controlled entry?· How is that different than just     11· · · · Q.· ·Okay.· And so I'm going to -- I'm going to
  12· ·entering as a police officer, like, just walk          12· ·hand -- when we do exhibits, what happens is, is I
  13· ·through the door?                                      13· ·give it first to the court reporter.· She puts a
  14· · · · A.· ·Well, it's different than walking through    14· ·little sticker on it to mark what exhibit number it
  15· ·the door.· We kind of have an idea of where we're      15· ·is, and then she'll hand it to you.
  16· ·going and what we're doing.· There's already been a    16· · · · · · ·And please make sure you don't leave today
  17· ·plan put in place of where you're going to go and      17· ·and take any of the exhibits with you.
  18· ·what you're going to do.                               18· · · · A.· ·Okay.
  19· · · · Q.· ·Okay.                                        19· · · · · · · · (Exhibit No. 2 was marked.)
  20· · · · A.· ·So that's why it's controlled.· It's not     20· ·BY MS. MURPHY:
  21· ·just we're walking in or just running in and           21· · · · Q.· ·So --
  22· ·figuring it out as we go.                              22· · · · · · ·THE REPORTER:· Wait, wait.
  23· · · · Q.· ·Can you use a CET entry on a knock and       23· · · · · · ·MS. MURPHY:· You can't do those at the
  24· ·announce -- on a knock and announce warrant?           24· ·same time?
  25· · · · A.· ·Yes.                                         25· · · · Q.· ·So, James, what I've just handed you is --

                                                        31                                                          33
  ·1· · · · Q.· ·Okay.· Is there no conflict between knock    ·1· ·we're going to mark as Exhibit 2 to today's
  ·2· ·and announce and a CET entry?                          ·2· ·deposition transcript, and this is the Las Vegas
  ·3· · · · A.· ·No conflict between a knock and announce     ·3· ·Metropolitan Police Department, Special Weapons and
  ·4· ·and a CET?                                             ·4· ·Tactics.· Mine says that this is kind of the
  ·5· · · · Q.· ·Yes.                                         ·5· ·internal policy on it.
  ·6· · · · A.· ·No.                                          ·6· · · · A.· ·Uh-huh.
  ·7· · · · Q.· ·Okay.· And is part of CET -- you know, in    ·7· · · · Q.· ·And the copy that I've given you, I put a
  ·8· ·this case, right, the windows were broken open,        ·8· ·tiny little mark, a highlighter mark, because I want
  ·9· ·there were devices, the explosive -- what are they     ·9· ·to read to you part of the description of controlled
  10· ·called?· The distracts --                              10· ·entry, and I want you to be able to follow along
  11· · · · A.· ·Distracts.                                   11· ·with me.
  12· · · · Q.· ·-- were thrown in.                           12· · · · · · ·And for the record, it is Bates LVMPD
  13· · · · A.· ·Yeah.                                        13· ·001490.· And just so that you know, James, there --
  14· · · · Q.· ·And so is that part of a CET entry?          14· ·on every -- almost every exhibit that I hand you,
  15· · · · A.· ·Yes.                                         15· ·there will be an alpha numeric number down in the
  16· · · · Q.· ·What's the purpose of the distracts and      16· ·right-hand corner.
  17· ·the devices?                                           17· · · · A.· ·Okay.
  18· · · · A.· ·To create distraction.                       18· · · · Q.· ·Those are the numbers your attorney has
  19· · · · Q.· ·To surprise; is that correct?                19· ·put on every document that we received so that we
  20· · · · A.· ·Yeah, surprise.                              20· ·have kind of our own pagination system and we can
  21· · · · Q.· ·Give me one second.· And so perhaps it       21· ·keep track of all the documents.
  22· ·will help me have you answer the questions a little    22· · · · A.· ·Okay.
  23· ·bit more in a flowing fashion, can you please tell     23· · · · Q.· ·So, under Controlled Entry Tactic, it
  24· ·me the difference between a Control Entry Tactic and   24· ·reads, "This tactic can be dynamic in nature, and is
  25· ·a Surround and Callout?                                25· ·a viable and time-proven option.· LVMPD should use a


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  ·1· ·CET to execute search warrants in those cases to       ·1· ·understood it was police officers coming through
  ·2· ·lessen the risks and to enhance officer, citizen,      ·2· ·that unit?
  ·3· ·and suspect safety.· The goal of a CET is not to       ·3· · · · A.· ·I would assume based off of the
  ·4· ·surround and call the subject out to SWAT officers.    ·4· ·announcements given.
  ·5· ·This tactic is meant to surprise and overwhelm the     ·5· · · · Q.· ·You think that six seconds of
  ·6· ·suspects."                                             ·6· ·announcements is sufficient to give a sleeping
  ·7· · · · · · ·Now, as we sit here today, is the conc- --   ·7· ·person inside an apartment notice and the time to
  ·8· ·I'm going to ask you your opinion.· Is the concept     ·8· ·understand that police officers are coming through
  ·9· ·of surprising and overwhelming suspects, does that     ·9· ·the door?
  10· ·conflict with the purpose of no-knock -- or sorry,     10· · · · A.· ·I believe so, yes.
  11· ·the purpose of knock and announce, which is to allow   11· · · · Q.· ·Okay.· And you think that especially --
  12· ·people the opportunity to understand and evaluate      12· ·that six seconds, then it is also punctuated with a
  13· ·that it's a police officer trying to gain entry?       13· ·distract device and what they call it, the nine
  14· · · · A.· ·You're going to have to give that to me      14· ·banger going off, you think that that's also
  15· ·one more time.                                         15· ·sufficient time for somebody to understand that?
  16· · · · Q.· ·No problem, no problem.· So -- and I'll      16· · · · A.· ·Yes.
  17· ·just read the last line one more time, and then I'll   17· · · · Q.· ·Okay.· You don't think that perhaps
  18· ·ask the question again.                                18· ·Mr. Williams was surprised and couldn't have enough
  19· · · · A.· ·Yeah.                                        19· ·time to understand who was coming through the door?
  20· · · · Q.· ·"This tactic is meant to surprise and        20· · · · · · ·MR. ANDERSON:· Objection, form.
  21· ·overwhelm the subjects."· In your opinion, is          21· · · · · · ·Go ahead.
  22· ·surprising and overwhelming a suspect at odds with     22· · · · · · ·THE WITNESS:· I mean, I believe he was
  23· ·the concept of the knock and announce rule that a      23· ·surprised, yes.
  24· ·citizen is entitled to know and understand that it     24· ·BY MS. MURPHY:
  25· ·is a police officer trying to gain entry?              25· · · · Q.· ·As we sit here today, do you think it was

                                                        35                                                          37
  ·1· · · · A.· ·For the surprise and overwhelming, no.       ·1· ·Mr. Williams' intention to shoot at police officers?
  ·2· · · · Q.· ·Why not?                                     ·2· · · · · · ·MR. ANDERSON:· Objection, form.
  ·3· · · · A.· ·Because we just need to alert them that      ·3· · · · · · ·THE WITNESS:· I'm unsure.
  ·4· ·it's the police.· And, yes, they'll be surprised.      ·4· ·BY MS. MURPHY:
  ·5· ·But if we're there to serve a search warrant, we're    ·5· · · · Q.· ·Okay.· As we sit here today, can you do a
  ·6· ·going to overwhelm that premise because of the         ·6· ·CET entry on a property only search warrant?
  ·7· ·reasons listed above.· Which, you know, lessen the     ·7· · · · A.· ·I believe so, given the -- you know,
  ·8· ·risk, enhance officer and citizen safety, also         ·8· ·the -- again, it's circumstantial.· Is it -- is it
  ·9· ·safely take the suspect into custody as well.· So      ·9· ·preferred?· No.· But if it's the only way, based off
  10· ·that way there's not time for them to, you know, arm   10· ·of, you know, all the other information that's being
  11· ·themselves, take up a better defensive position, or    11· ·looked at, then, yes.
  12· ·even, you know, flee the area.                         12· · · · Q.· ·Okay.· Were you aware that part of the
  13· · · · Q.· ·In this case, do you think the way that      13· ·internal investigation concluded that the policy
  14· ·this warrant was served lessened the risks and         14· ·should be changed, and that CET entries should not
  15· ·enhanced officer safety?                               15· ·be used on property only search warrants?
  16· · · · A.· ·Yes.                                         16· · · · A.· ·Are you talking a policy review?
  17· · · · Q.· ·How did it enhance officer safety?           17· · · · Q.· ·Yes.
  18· · · · A.· ·So, for us, I believe that it enhanced it    18· · · · A.· ·Prior to this or --
  19· ·because we were able to quickly get into the           19· · · · Q.· ·Sorry --
  20· ·apartment and to address the suspect in this case      20· · · · A.· ·-- after this?
  21· ·who was shooting at officers.· And then also           21· · · · Q.· ·Following this, because of this incident.
  22· ·shooting through the rest of the apartment, which      22· · · · A.· ·Okay.· So what was the question again
  23· ·was a multi-unit apartment building.· So...            23· ·exactly?
  24· · · · Q.· ·As we sit here today, do you have any        24· · · · Q.· ·No problem.· I'll ask it again.
  25· ·evidence or facts that would indicate Mr. Williams     25· · · · · · ·Were you aware that following the


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  ·1· ·investigation regarding this incident, the             ·1· · · · Q.· ·And is that normally how you find out
  ·2· ·officer-involved shooting on January 10th, 2022 with   ·2· ·about warrants?
  ·3· ·Mr. Williams, were you aware that a recommendation     ·3· · · · A.· ·Yeah, that's our primary means to
  ·4· ·was made for a policy change that CET entries no       ·4· ·communicate with the team.
  ·5· ·longer be used for property only search warrants?      ·5· · · · Q.· ·Okay.· And I -- I know it was a couple
  ·6· · · · A.· ·I believe that was a finding that they       ·6· ·years ago, but to the best of your memory, can you
  ·7· ·concluded, yes.                                        ·7· ·tell me what was in the text that you received?
  ·8· · · · Q.· ·Okay.· As we sit here today, do you have     ·8· · · · A.· ·It's kind of a standard text.· It's just
  ·9· ·any knowledge or awareness of whether or not that      ·9· ·the other -- the other team that's working, they'll
  10· ·policy was adopted by LVMPD?                           10· ·ask for additional officers to come in to
  11· · · · A.· ·I believe it has been.                       11· ·supplement -- supplement their team for service of a
  12· · · · Q.· ·Okay.                                        12· ·search warrant.
  13· · · · A.· ·Yes.                                         13· · · · Q.· ·And so if I understand correctly, James,
  14· · · · Q.· ·And, like I said, we'll get into the --      14· ·you actually were not -- you were just brought in
  15· ·the actual entry itself and we'll go through all of    15· ·kind of as extra because they were short to serve
  16· ·that.                                                  16· ·this warrant, correct?
  17· · · · A.· ·Okay.                                        17· · · · A.· ·Correct, yeah.
  18· · · · Q.· ·But as we sit here today, do you believe     18· · · · Q.· ·And you said it's kind of like the
  19· ·that the search warrant could have been served as a    19· ·standard text.· And I'm sorry, I don't -- if you
  20· ·Surround and Callout rather than a CET entry?          20· ·could kind of walk me through, like, what does the
  21· · · · A.· ·No.                                          21· ·text that you -- like, what's the standard text look
  22· · · · Q.· ·But as we sit here today, based on the       22· ·like?· You don't have -- if you don't remember this
  23· ·updated policy of LVMPD, this search warrant would     23· ·one specifically, it's fine, but if you can just
  24· ·have to be served as a Surround and Callout,           24· ·kind of tell me, this is usually what the text says.
  25· ·correct?                                               25· · · · A.· ·It will usually say, blue team needs five

                                                        39                                                          41
  ·1· · · · A.· ·I -- unless there's an exception to that     ·1· ·or six bodies for a 0500 search warrant briefing.
  ·2· ·policy, then, yes.                                     ·2· ·It's going to be at Santa Fe Station.· That's it.
  ·3· · · · Q.· ·Okay.· And I'm sorry, I didn't tell you      ·3· · · · Q.· ·Okay.
  ·4· ·before, if you want to take a break at any time, no    ·4· · · · A.· ·Typically.
  ·5· ·matter what for.· If you need to take a phone call,    ·5· · · · Q.· ·And do you have the -- do you volunteer
  ·6· ·go to the restroom, whatever, you just tell me and     ·6· ·for this or is it, like, you're up next to do this?
  ·7· ·we'll take a break immediately.                        ·7· · · · A.· ·That's a little bit of both, yeah.
  ·8· · · · A.· ·Okay.                                        ·8· ·There's a -- there's a running list.
  ·9· · · · Q.· ·Okay.· All right.· Now we're going to get    ·9· · · · Q.· ·Okay.
  10· ·into -- and I actually offered -- if you want, we      10· · · · A.· ·So -- and then you say, hey, yeah, I'm --
  11· ·can take a short break now, because now I'm going to   11· ·based off what you have because it's a -- it's a day
  12· ·get into the actual, like, mechanics.· And I'd like    12· ·off.· So, if you have nothing going on, then you can
  13· ·to flow through that as kind of -- without taking a    13· ·say, yeah, I'm available.· And then depending on
  14· ·break.· So if you want, we can take a five- or         14· ·where you fall on the list, if you make it, you make
  15· ·ten-minute break now.                                  15· ·it; if you don't, you don't.
  16· · · · A.· ·I'm good.                                    16· · · · Q.· ·Okay.· I mean, I have to tell you that I
  17· · · · Q.· ·Okay.                                        17· ·personally -- you can tell me if this is different.
  18· · · · A.· ·Let's do it.                                 18· ·I -- and I don't know -- and I'm kind of just trying
  19· · · · Q.· ·Great.· We'll keep going.                    19· ·to figure out how it works and, you know -- so
  20· · · · · · ·So, can you please tell me when you first    20· ·you'll have to excuse me if some of my questions are
  21· ·became aware of the search warrant in this case?       21· ·a little bit clumsy.
  22· · · · A.· ·I believe it was the night prior, or less    22· · · · · · ·But, like, I -- I'm -- a 4:00 a.m. warrant
  23· ·than 12 hours prior to.· Yeah.                         23· ·service seems kind of intense.· Was that normal for
  24· · · · Q.· ·Okay.· And how did you become aware?         24· ·you guys or -- do you kind of get what I'm getting
  25· · · · A.· ·Through texts, text message.                 25· ·at?


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  ·1· · · · A.· ·Yeah.                                        ·1· ·associated factors that -- that we look for.· You
  ·2· · · · Q.· ·Okay.                                        ·2· ·know, is there fortifications on the house?· Are
  ·3· · · · A.· ·It's normal.                                 ·3· ·there cameras?· Are there dogs?· You know, are there
  ·4· · · · Q.· ·Okay.                                        ·4· ·children present, visible?· You know, window
  ·5· · · · A.· ·Yeah.                                        ·5· ·coverings.· There's -- there's a laundry list of
  ·6· · · · Q.· ·So that wouldn't be, like, I'm not doing a   ·6· ·things.
  ·7· ·4:00 a.m. search warrant, because this -- it was not   ·7· · · · · · ·Also, we're looking at kind of the
  ·8· ·that unusual; is that fair to say?                     ·8· ·surrounding area, too.· The houses, you know, next
  ·9· · · · A.· ·Correct.· Yeah.· Yeah.                       ·9· ·to those, the target location, as well.· Because
  10· · · · Q.· ·Okay.· And you were not part of the recon    10· ·we're also going to probably send out containment
  11· ·team for this warrant --                               11· ·positions.· So making sure they have good avenues to
  12· · · · A.· ·No.                                          12· ·kind of get where they need to go.· You know, unlock
  13· · · · Q.· ·-- correct?                                  13· ·gates or a neighbor has a large dog or something
  14· · · · · · ·Okay.· Have you -- you've done recon for     14· ·like that.· Anything that would take a few minutes
  15· ·warrants before, though, correct?                      15· ·for them to get back there.
  16· · · · A.· ·Yes.                                         16· · · · · · ·And then we'll take all that information,
  17· · · · Q.· ·So I understand that you weren't part of     17· ·we'll kind of come up with a game plan of what we
  18· ·the recon team for this warrant, but you -- can you    18· ·think.· And again, I'm using the house in this
  19· ·kind of walk me through when you are part of the       19· ·situation, but it could be an apartment.· And then
  20· ·recon team, kind of, what does that look like?· What   20· ·kind of present a plan to the Assistant Team Leader
  21· ·do you do?                                             21· ·or the team leader, who they've kind of already
  22· · · · A.· ·So, you'll typically receive the search      22· ·looked at this information as well.· And then kind
  23· ·warrant and then investigative material, basically     23· ·of formulate the plan of what we're going to do and
  24· ·pretty much everything that the detectives have        24· ·how we're going to serve it.
  25· ·compiled for the case.· Well, depending on what they   25· · · · Q.· ·Okay.· And so in this -- and so about --

                                                        43                                                          45
  ·1· ·send over.· Sometimes you have to ask for more.        ·1· ·if there is an average, you tell me, because I don't
  ·2· ·Some are very thorough, send everything.· Some only    ·2· ·know.· But, like, what is the -- is there, like, an
  ·3· ·send the required stuff.                               ·3· ·average time that you would spend on the recon?· Do
  ·4· · · · · · ·But you'll review all that.· You'll review   ·4· ·you know what I mean by that question?
  ·5· ·the search warrant, make sure, you know, it meets      ·5· · · · A.· ·Yeah.
  ·6· ·all the, you know, normal stuff that needs to be in    ·6· · · · Q.· ·Like -- like, oh, usually we'll spend,
  ·7· ·a search warrant.· So, review that.                    ·7· ·like, one to two hours or half an hour, or is there
  ·8· · · · · · ·Then you'll find where the location is at,   ·8· ·kind of an average that you're comfortable with
  ·9· ·where you're going to go.· So determine that.· From    ·9· ·based on your experience and your service of search
  10· ·there, we'll determine a rally point, more or less,    10· ·warrants?
  11· ·where, you know, it's less than a five-minute drive    11· · · · A.· ·Is there a time?· I'm not -- it's hard to
  12· ·to the target, per se.· So that way -- like a          12· ·say.· I mean, depends on kind of -- we're calling
  13· ·staging spot so everybody can meet there and stage.    13· ·officers available from all over the city, right?
  14· · · · · · ·And then from there, usually just two        14· ·So, depending on what side of town you've got to go
  15· ·officers, sometimes it's three, sometimes it's four,   15· ·to.· We -- we, I think, would average about three
  16· ·go out and actually do the recon.· Which if it's in    16· ·hours, I believe, prior to the service for the
  17· ·a house, they'll pull it up on Google and kind of --   17· ·recon.· Which doesn't mean it has to be done then.
  18· ·layout of the area, see what it looks like, you        18· ·It could be done a couple days before, it could be
  19· ·know.· See what's around there.· And then go           19· ·done the night before.· I mean, yeah, we could look
  20· ·actually out, confirm the information that's listed    20· ·at it kind of whenever.· And then plan when we're
  21· ·in the premise, or the search warrant, that it         21· ·going to -- when they're going to conduct the
  22· ·matches, you know, what we're seeing with -- with      22· ·service.
  23· ·eyes on it.                                            23· · · · Q.· ·Following this January 10, 2022 incident,
  24· · · · · · ·You know, then obviously once we get         24· ·did you have any opportunity to kind of further
  25· ·there, too, we're looking at all the -- all the        25· ·review the recon, based on what was actually


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  ·1· ·physically presented -- physically occurring when      ·1· ·fortification on the door?
  ·2· ·you came -- came into the apartment?· And if I've      ·2· · · · A.· ·Yes.
  ·3· ·asked that question awkwardly, tell me to rephrase     ·3· · · · Q.· ·Okay.· Do you understand that the recon
  ·4· ·it.                                                    ·4· ·failed to rule out that there were any children
  ·5· · · · A.· ·Yeah.                                        ·5· ·present in the unit?
  ·6· · · · Q.· ·Sure.· So, you -- so -- actually let me      ·6· · · · A.· ·I believe we determined there was no
  ·7· ·ask it differently.                                    ·7· ·children present.
  ·8· · · · · · ·During the -- there was a briefing at        ·8· · · · Q.· ·Correct.· But having looked back on it
  ·9· ·Sam's Town, correct?                                   ·9· ·now, do you understand that part of the
  10· · · · A.· ·Right.                                       10· ·investigation found they hadn't ruled out that there
  11· · · · Q.· ·Right.                                       11· ·were children, elderly, compromised people there at
  12· · · · A.· ·That's -- yeah, I was just thinking -- I     12· ·all?· They really didn't know who was associated
  13· ·was, like, okay.· Kind of left that part out, but I    13· ·with the apartment.· Do you understand that as we
  14· ·could explain that part.                               14· ·sit here today?
  15· · · · Q.· ·And I'll have you get that -- to that in     15· · · · A.· ·I mean, based off of the recon, I believe
  16· ·just a second, yeah.                                   16· ·that there was no indication that those people were
  17· · · · · · ·So the briefing at Sam's Town, you get       17· ·there.· So I would say it was ruled out at the time.
  18· ·kind of delivered what the recon team has found,       18· · · · Q.· ·Okay.· And then there was also an issue
  19· ·right?                                                 19· ·with window coverings when -- specifically for your
  20· · · · A.· ·Yes.                                         20· ·position, correct?
  21· · · · Q.· ·Okay.· So having actually gone through       21· · · · A.· ·Correct, yeah.
  22· ·this incident, been part of the officer-involved       22· · · · Q.· ·And that wasn't accurately relayed to you
  23· ·shooting, been briefed at Sam's Town, were there       23· ·before the actual service of the search warrant,
  24· ·things that you found out about the recon that had     24· ·correct?
  25· ·been conducted that you later found out to be          25· · · · A.· ·That would have been -- that was very

                                                        47                                                          49
  ·1· ·inaccurate or poorly done?                             ·1· ·clear that would have been something we would have
  ·2· · · · A.· ·I'm trying to think.· As far as the recon    ·2· ·been told, I believe.
  ·3· ·goes, I would say no.· I mean, I felt we got a good    ·3· · · · Q.· ·Okay, okay.· If you had done the recon
  ·4· ·briefing.· I mean, a standard search warrant service   ·4· ·on -- do you have -- you do have knowledge as we sit
  ·5· ·briefing.                                              ·5· ·here today about the recon that was done, correct?
  ·6· · · · Q.· ·Okay.· But to --                             ·6· · · · A.· ·Yes.
  ·7· · · · A.· ·There's always --· I'm sorry.                ·7· · · · Q.· ·As we sit here today, would you have done
  ·8· · · · Q.· ·No, no, no.· You finish.                     ·8· ·the recon the same way or would you have done it
  ·9· · · · A.· ·There -- there's always unknown or           ·9· ·differently?
  10· ·variables that -- that happen.                         10· · · · · · ·MR. ANDERSON:· Objection, form.
  11· · · · Q.· ·Okay.                                        11· · · · · · ·THE WITNESS:· I would have -- I probably
  12· · · · A.· ·That can't be planned for or that            12· ·would have done it the same way.· Based off of
  13· ·aren't -- that are not caught on a recon that you      13· ·everything that I know, it was done within -- within
  14· ·kind of got to deal with on the fly.· So...            14· ·standard.· You know, sometimes they're -- they're
  15· · · · Q.· ·In this case, you listed off four            15· ·very difficult, especially in apartment complexes.
  16· ·different things that you would want recon to look     16· ·They're extremely difficult.
  17· ·for:· Window coverings, dogs, children, and            17· ·BY MS. MURPHY:
  18· ·fortification.                                         18· · · · Q.· ·What if I were to represent to you that
  19· · · · A.· ·Cameras.                                     19· ·LVMPD's internal investigation found that the recon
  20· · · · Q.· ·Sorry, cameras.· Okay.                       20· ·was not done within standard?
  21· · · · A.· ·Elderly.                                     21· · · · A.· ·I'm sorry, if you presented that to me?
  22· · · · Q.· ·Right.· And so in this case, looking back    22· · · · Q.· ·Yeah.· What if I represent -- are you
  23· ·on it from your point of view today, knowing           23· ·surprised if I represent to you that the internal
  24· ·everything that you know now, do you understand that   24· ·investigation found that the recon was not done
  25· ·the recon failed to assess that there was a            25· ·consistent with LVMPD standards?


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  ·1· · · · A.· ·Which investigation --                       ·1· · · · · · ·And these recommendations were based off
  ·2· · · · Q.· ·Sorry --                                     ·2· ·of a couple different factors.· Mainly department
  ·3· · · · A.· ·-- the CIRT investigation?                   ·3· ·policy, right, SOPs, operating procedures.· And then
  ·4· · · · Q.· ·Yes.                                         ·4· ·the SMEs, Subject Matter Experts, which I disagree
  ·5· · · · A.· ·Would it surprise me?                        ·5· ·with some of the ones that they -- the department
  ·6· · · · Q.· ·Yeah.                                        ·6· ·had used or brought in to make those
  ·7· · · · A.· ·No.                                          ·7· ·recommendations.
  ·8· · · · Q.· ·Why not?                                     ·8· · · · Q.· ·Do you feel that they unfairly assessed
  ·9· · · · A.· ·I don't know how I would answer that.· Can   ·9· ·your guys' actions as the officers with their actual
  10· ·I --                                                   10· ·feet on the ground?
  11· · · · Q.· ·I want you to speak -- yeah, you answer it   11· · · · A.· ·I wouldn't say unfairly.· I would say
  12· ·how you want to tell me.                               12· ·incorrectly.
  13· · · · A.· ·Well, I -- I believe -- I'm trying to        13· · · · Q.· ·Okay.
  14· ·think how I would -- how I would phrase this is, how   14· · · · A.· ·And then I'll just add to that -- let me
  15· ·did, one, CIRT come to that conclusion?· What did      15· ·add to that.
  16· ·they use to base their conclusion -- what did they     16· · · · · · ·Just because I -- you know, I said
  17· ·use, right?· The information.· And who did they        17· ·incorrectly.· But, the reason why is, this -- this
  18· ·obtain that information from?· Because there's         18· ·type of job requires a high level of skill, a high
  19· ·varying -- varying sorts of opinion.                   19· ·level of training, and it's consistent training.· So
  20· · · · · · ·I mean, you can ask anybody in the           20· ·when you leave that environment, even for a short
  21· ·tactical SWAT world, search warrant world, and there   21· ·period of time, things change very quickly.· So, if
  22· ·are 1,000 ways to do everything.· So for them to       22· ·you're not involved in that, let's say, for a period
  23· ·come up with that conclusion?                          23· ·of a year.
  24· · · · · · ·Actually, I believe it's more of a           24· · · · · · ·My situation, I left last year.· I come
  25· ·recommendation than it -- than an actual conclusion,   25· ·back, there would be quite a bit of things for me to

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  ·1· ·which is something they could certainly recommend,     ·1· ·catch up on, where I feel I wouldn't be a subject or
  ·2· ·right?· I mean, you could find -- you could find       ·2· ·expert any more because the tactics change, the
  ·3· ·fault in almost anything.· But I would question how    ·3· ·situations change, the rules change.· There's a lot
  ·4· ·they came to that determination.                       ·4· ·of varying things to make, you know, an opinion and
  ·5· · · · Q.· ·Okay.                                        ·5· ·conclusion of kind of what they -- what was
  ·6· · · · A.· ·So...                                        ·6· ·ultimately founded, I guess.
  ·7· · · · Q.· ·And you tell me if I'm right or wrong.· As   ·7· · · · Q.· ·Okay.· And this is my understanding of
  ·8· ·I'm kind of reading you and hearing your answer, are   ·8· ·what you just said to me, and you tell me if I'm
  ·9· ·you aware of some of the recommendations or            ·9· ·right or wrong.
  10· ·conclusions that CIRT came to?                         10· · · · · · ·Do you think that some of the SMEs that
  11· · · · A.· ·I am.                                        11· ·they brought in were a little out of touch with how
  12· · · · Q.· ·Do you think that they're unfair or          12· ·things needed to be done on the day that you served
  13· ·biased?                                                13· ·that warrant?
  14· · · · · · ·MR. ANDERSON:· Objection, form.              14· · · · A.· ·Yes.
  15· · · · · · ·Go ahead.                                    15· · · · Q.· ·Okay.· And I'm sorry, I should have asked
  16· · · · · · ·THE WITNESS:· I think they could have been   16· ·this before.
  17· ·done better.                                           17· · · · · · ·In your career in SWAT, how many warrants
  18· ·BY MS. MURPHY:                                         18· ·do you think you've served?
  19· · · · Q.· ·And what does that -- what does that mean    19· · · · A.· ·Probably well over 1,000.
  20· ·to you?· If you could explain to me what you mean by   20· · · · Q.· ·And how many do you think were -- if you
  21· ·that.                                                  21· ·can just give me a rough estimate, how many of those
  22· · · · A.· ·Well, obviously, being, you know, an         22· ·were the -- were the CET entry?
  23· ·involved officer, I had to go through that entire      23· · · · A.· ·60 percent.
  24· ·process, right?· Which is fairly lengthy and it's --   24· · · · Q.· ·So this type of CET entry was something
  25· ·it's extremely detailed and in depth.                  25· ·that you were very comfort- -- and you tell me if


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  ·1· ·I'm right or wrong.· This is something that you were   ·1· ·we're up and down Nellis pretty regularly, so it's
  ·2· ·very well versed in and very comfortable doing,        ·2· ·a -- it's a common area, a common style apartment
  ·3· ·correct?                                               ·3· ·complex.
  ·4· · · · A.· ·Yes.                                         ·4· · · · · · ·And then I was assigned as the shield
  ·5· · · · Q.· ·As much as you're comfortable doing your     ·5· ·officer for the window team, or the stun stick team,
  ·6· ·job, which is uncomfortable.                           ·6· ·which is a win- -- the window -- window, slash, stun
  ·7· · · · A.· ·Yes, yeah.                                   ·7· ·stick team.· So I knew in that situation I'd be
  ·8· · · · Q.· ·All right.· I've kind of asked you some      ·8· ·carrying a shield and a pistol, and I'd be providing
  ·9· ·basic questions, and I said I was going to talk        ·9· ·coverage for Officer Bertuccini, who was actually on
  10· ·about the actual thing that happened.· Now I'm going   10· ·the -- the actual stun stick.
  11· ·to get to the actual thing that happened.              11· · · · Q.· ·And, so -- and I just want to confirm, you
  12· · · · A.· ·Okay.                                        12· ·said -- because I was going to ask you this, but I
  13· · · · Q.· ·So you got -- you got the -- you received    13· ·just want to confirm, like, you're familiar with
  14· ·notification about the warrant, you weren't on the     14· ·this area, correct?
  15· ·recon team, and so then you show up to Sam's Town,     15· · · · A.· ·Yes.
  16· ·correct?                                               16· · · · Q.· ·Had you -- do you -- do you know if you
  17· · · · A.· ·Uh-huh.                                      17· ·served any other search warrants in this apartment
  18· · · · Q.· ·Can you kind of walk me through that?        18· ·building before?· Obviously not this apartment, but
  19· · · · A.· ·So, show up -- showed up to Sam's Town.      19· ·this apartment building?
  20· ·Kind of normal.· Get there, you know, 15 or so         20· · · · A.· ·In that complex?· Probably -- likely.
  21· ·minutes before the briefing, the briefing time.        21· ·Yeah.· Not 100 percent.
  22· ·Which is typically a hard time.                        22· · · · Q.· ·And I should have asked this before.· Is
  23· · · · · · ·The recon officers will have, you know,      23· ·this the only officer -- have you been involved in
  24· ·the information just kind of written out on a couple   24· ·any other officer-involved shootings?
  25· ·butcher block sheets of paper.· You know, you'll       25· · · · A.· ·As?

                                                        55                                                          57
  ·1· ·have the -- the kind of overall info, you know,        ·1· · · · Q.· ·As an officer?
  ·2· ·location, address, all that, the number.· Some of      ·2· · · · A.· ·The one shooting?
  ·3· ·the details.                                           ·3· · · · Q.· ·Other than this one, January 10th, 2022,
  ·4· · · · · · ·They'll have a -- they'll do a -- like a     ·4· ·have you ever been involved in any other
  ·5· ·rough sketch of the area where we're going, you        ·5· ·officer-involved shootings?
  ·6· ·know, the structure and stuff like that, the           ·6· · · · A.· ·No.
  ·7· ·surrounding landscape.                                 ·7· · · · Q.· ·Okay.
  ·8· · · · · · ·And then the third one will be essentially   ·8· · · · A.· ·But present for quite a few.· Yeah.
  ·9· ·the plan, more or less, where you're at, what your     ·9· · · · Q.· ·Okay.· To the best of your memory, can you
  10· ·job is, and what you're doing.                         10· ·tell -- when was the nearest one that you were
  11· · · · · · ·So showed up, take a look at that, see       11· ·involved in to this incident?· And sorry, sorry, let
  12· ·where I'm at, see what I'm doing.· From there,         12· ·me -- let me clarify.· Because I think -- and you
  13· ·depending on what it is, I'll go prep whatever         13· ·tell me if I'm right or wrong, if I'm understanding
  14· ·equipment I need to prep for that specific job.· And   14· ·this correctly.
  15· ·then we'll -- we'll conduct the briefing.              15· · · · · · ·You're talking about, if I understand it,
  16· · · · Q.· ·And so for this one specifically where you   16· ·you're making a distinction between being on a team
  17· ·went at Sam's Town, you got there 15 minutes early,    17· ·but not pulling the trigger; is that correct?
  18· ·and then can you walk me through your memory to        18· · · · A.· ·Correct, yes, yeah.
  19· ·the -- as you remember it today, kind of the           19· · · · Q.· ·Okay.· So yeah.· You've been -- you've
  20· ·briefing that you got, the outline you got, and what   20· ·been on the team where there has been an
  21· ·your role on the -- like, what your duties were        21· ·officer-involved shooting, but this is the only one
  22· ·going to be.                                           22· ·where you discharged your weapon?
  23· · · · A.· ·Yeah.· So, from what I recall is, it was a   23· · · · A.· ·Correct, yes.
  24· ·homicide-related investigation.· And we were serving   24· · · · Q.· ·Okay.· Can you tell me about the other
  25· ·a controlled entry warrant at 3050 Nellis, which       25· ·instances where you were on the team but you were


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  ·1· ·not the one that discharged your weapon?               ·1· ·probably -- that's a different type of scenario than
  ·2· · · · A.· ·Several.                                     ·2· ·what happened here.
  ·3· · · · Q.· ·And if you could --                          ·3· · · · A.· ·Correct.
  ·4· · · · A.· ·Yeah.                                        ·4· · · · Q.· ·Right.· And so let me ask you, if you can
  ·5· · · · Q.· ·Sure.· If -- and I understand that some of   ·5· ·remember, do you remember if any of the
  ·6· ·this stuff is nearer and closer in time.· When you     ·6· ·officer-involved shootings that you were present for
  ·7· ·say several, could you give me a range?· Is that       ·7· ·involved service of a warrant?
  ·8· ·between, like, five and ten?· Is that two to three?    ·8· · · · A.· ·I think that could be -- so, service of a
  ·9· ·If you could give me kind of a range.                  ·9· ·warrant.· I mean, we --
  10· · · · A.· ·Probably five to ten.                        10· · · · Q.· ·And I'm a layperson, so --
  11· · · · Q.· ·Okay.                                        11· · · · A.· ·Yeah.
  12· · · · A.· ·I believe.· Somewhere around there.· Yeah.   12· · · · Q.· ·-- if I'm --
  13· · · · Q.· ·And were you -- for the -- for when you      13· · · · A.· ·So we have to have --
  14· ·were present for other officer-involved shootings as   14· · · · · · ·THE REPORTER:· Excuse me.
  15· ·you were part of the team, was that always when you    15· · · · · · ·THE WITNESS:· Oh, sorry.
  16· ·were on SWAT?                                          16· ·BY MS. MURPHY:
  17· · · · A.· ·Yes.· Yeah.                                  17· · · · Q.· ·She can't us take down both --
  18· · · · Q.· ·Okay.· And can you tell me if you can        18· · · · A.· ·Got you.
  19· ·remember, the nearest one in time to this incident?    19· · · · Q.· ·-- at the same time.
  20· · · · A.· ·Nearest one in time.                         20· · · · · · ·But if I'm using the wrong terms, feel
  21· · · · Q.· ·The nearest one -- actually, let me -- let   21· ·free to correct me or clarify it.
  22· ·me back that -- strike that.· Let me ask this          22· · · · · · ·Sorry, go ahead.
  23· ·instead.                                               23· · · · A.· ·Are you asking in the instance of a CET or
  24· · · · · · ·Do you remember the one that occurred        24· ·a Surround and Callout?
  25· ·closest in time before this?                           25· · · · Q.· ·Let me ask a CET first.

                                                        59                                                          61
  ·1· · · · A.· ·Closest in time before.· January of '22.     ·1· · · · A.· ·Okay.
  ·2· ·I don't.· I know, sorry.· They're all kind of          ·2· · · · Q.· ·So, were you present, or do you remember
  ·3· ·blending in with the time frames.· I can't --          ·3· ·were you present for an officer-involved shooting
  ·4· · · · Q.· ·Okay.                                        ·4· ·that involved a CET entry?
  ·5· · · · A.· ·I can't say with 100 percent certainty.      ·5· · · · A.· ·No.
  ·6· · · · Q.· ·And I don't need you to give me              ·6· · · · Q.· ·Okay.· What about a Surround and Callout?
  ·7· ·100 percent certainty.· Just about this, if you        ·7· · · · A.· ·Yes.
  ·8· ·could, to the best of your memory, tell me -- maybe    ·8· · · · Q.· ·Okay.· Can you walk me through what
  ·9· ·we don't do before or after.· If you could just tell   ·9· ·happened in that?
  10· ·me the other officer-involved shooting that you were   10· · · · A.· ·That one.· Give me a second; let me think
  11· ·present for closest in time to this one.               11· ·about it.· I believe it was a barricaded subject who
  12· · · · · · ·And I don't need -- you are excellent at     12· ·was shooting at -- that would have been -- I take
  13· ·giving very exact details in your answers.· You        13· ·that back.· I'm getting -- I'm getting confused.· It
  14· ·don't have to give me that exact detail.· If you can   14· ·would have been -- that would have been a barricaded
  15· ·just give me your best estimate, that's what I'm       15· ·person, so that would -- that would have been a call
  16· ·asking for.                                            16· ·out, not an actual warrant.· But it's -- we have to
  17· · · · A.· ·I know there was one in November.· I can't   17· ·have a warrant first before we can typically do
  18· ·recall if it was the year prior or the year after.     18· ·anything.· So that's -- yeah.
  19· ·Hostage rescue thing.· Guy murdered a couple people,   19· · · · Q.· ·Even --
  20· ·had a hostage in a vehicle.· We ended up tracking      20· · · · A.· ·My confusion.
  21· ·him down and kind of boxing the vehicle in and --      21· · · · Q.· ·No, no, no, that's okay.· And listen, I
  22· ·and the truck that I was in, my partner jumped out     22· ·know that we're talking about stuff that happened
  23· ·and ended up getting involved in the shooting.         23· ·years ago.· And so I'm just asking for your -- you
  24· · · · Q.· ·Okay.· And let me ask you if -- were         24· ·know, for the -- for your best memory.
  25· ·any -- and I think it's fair to say that that's        25· · · · · · ·And so the barricaded -- so if somebody


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  ·1· ·was barr- -- had you been -- had your team been        ·1· ·homicide investigation.
  ·2· ·trying to serve a warrant?· And the person             ·2· · · · Q.· ·Okay.
  ·3· ·barricaded themselves in as a result?                  ·3· · · · A.· ·Or evidence of the homicide.· That's
  ·4· · · · A.· ·This was -- been more of a -- patrol would   ·4· ·usually what we're told.· So...
  ·5· ·have called us.· Because they were dealing with it,    ·5· · · · Q.· ·Which -- and this is just out of -- out of
  ·6· ·yeah.· They were trying to take somebody into          ·6· ·curiosity.
  ·7· ·custody or trying to apprehend somebody who then       ·7· · · · · · ·Which areas of LVMPD would give you more
  ·8· ·became barricaded and then started shooting.           ·8· ·detailed rundowns?· Like, which units?
  ·9· · · · Q.· ·Okay.· And then SWAT gets called in for      ·9· · · · A.· ·Narcotics typically give very -- very
  10· ·that, correct?                                         10· ·detailed information.· Patrol station, Flex teams,
  11· · · · A.· ·Correct, yeah.· Yeah.                        11· ·also.
  12· · · · Q.· ·And my understanding, in terms of the        12· · · · Q.· ·What's a Flex team?
  13· ·service of the warrant, if you are not on the recon    13· · · · A.· ·PSU, Flex.· It changes names throughout
  14· ·team, you don't -- do you get much information about   14· ·the years.· So, like, a plain clothes investigative,
  15· ·the warrant itself?                                    15· ·street enforcement teams.
  16· · · · A.· ·No.                                          16· · · · Q.· ·And so just to confirm, because you talked
  17· · · · Q.· ·Okay.                                        17· ·earlier that -- that you have now -- you're now on
  18· · · · A.· ·Just an overview.                            18· ·Internal Affairs, and you wouldn't be comfortable
  19· · · · Q.· ·And is -- if -- this is my understanding,    19· ·coming back, even for the short time that you've
  20· ·and you tell me if I'm right or wrong.                 20· ·been gone, you wouldn't be comfortable coming back
  21· · · · · · ·The purpose of SWAT is to kind of just go    21· ·and commenting on how a SWAT unit did something,
  22· ·in there, serve the warrant, and then the detectives   22· ·correct?
  23· ·come in after, correct?                                23· · · · A.· ·I don't feel, no, no.· That I...
  24· · · · A.· ·Correct, yeah.                               24· · · · Q.· ·Okay.· And so is it fair for me to assume
  25· · · · Q.· ·And so, in this instance, did you know       25· ·that as part of your duties as a sergeant in IA, you

                                                        63                                                          65
  ·1· ·what the warrant was seeking?                          ·1· ·no longer serve search warrants?
  ·2· · · · A.· ·I don't -- I don't remember.                 ·2· · · · A.· ·Correct.
  ·3· · · · Q.· ·Okay.· In this instance, was it your         ·3· · · · Q.· ·All right.· Okay.· So, in this case, do
  ·4· ·understanding that one or both of the suspects could   ·4· ·you remember the homicide detective being there
  ·5· ·be present in the apartment?                           ·5· ·specifically, or do you just think I assume he was
  ·6· · · · A.· ·Yes.                                         ·6· ·there?
  ·7· · · · Q.· ·Okay.· And what was your -- how did you      ·7· · · · A.· ·I believe there was one there.
  ·8· ·come to that understanding?· One or both?· Was it      ·8· · · · Q.· ·Okay.
  ·9· ·one or both?                                           ·9· · · · A.· ·I believe there was.
  10· · · · A.· ·I believe it was looking -- again, details   10· · · · Q.· ·Okay.· And, to confirm, so was part of the
  11· ·are a little foggy.· Because I know we -- so           11· ·intention, as you understood it, of serving the
  12· ·typically when we do do the briefing for the           12· ·search warrant to apprehend either one or both of
  13· ·warrants, we'll have a detective from the              13· ·the murder suspects?
  14· ·investigative unit come out and kind of give us a      14· · · · A.· ·Yes.· I believe we were going for a
  15· ·rundown.                                               15· ·suspect and a -- evidence related to a homicide.· So
  16· · · · Q.· ·Was a detective present at this briefing     16· ·a firearm.
  17· ·at Sam's Town?                                         17· · · · Q.· ·Did you have an understanding if this
  18· · · · A.· ·I believe he was.                            18· ·search warrant was an arrest warrant and a search
  19· · · · Q.· ·Okay.                                        19· ·warrant for property, or did you have -- did you
  20· · · · A.· ·So, depending on what unit it is and the     20· ·have any understanding of that?
  21· ·detectives, some of those briefings are very good      21· · · · A.· ·I just know it was a search warrant for
  22· ·and thorough; some are very generic, broad             22· ·anybody in the premise, property, that's it.
  23· ·overviews.· Typically homicide is -- is more generic   23· · · · Q.· ·Okay.
  24· ·and broad.· Hey, we're looking for, you know, this     24· · · · A.· ·I didn't ask specifics.
  25· ·person or that person or these people related to a     25· · · · Q.· ·But the purpose of -- was your


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  ·1· ·understanding, as you were given that briefing at      ·1· ·killing a suspect.· So that typically never happens
  ·2· ·Sam's Town, that part of the purpose of serving the    ·2· ·in those type of situations.
  ·3· ·warrant was also to apprehend the suspects?            ·3· · · · Q.· ·Well, to be clear, Mr. Williams was not a
  ·4· · · · A.· ·Well, we would take anybody that's --        ·4· ·suspect in this homicide, correct?
  ·5· ·that's present into custody.· So whether you were      ·5· · · · A.· ·Correct.
  ·6· ·involved or not, you're getting taken into custody.    ·6· · · · Q.· ·Okay.· He wasn't a suspect in any kind of
  ·7· ·And that's for the investigative unit, once we turn    ·7· ·homicide, correct?
  ·8· ·it over then, to determine, hey, we have our suspect   ·8· · · · A.· ·No.· But he shot at the police.· Yeah.
  ·9· ·we're looking for, or this person is not related.      ·9· · · · Q.· ·Right.· And so I'm skipping ahead a little
  10· ·Let's go ahead and send them on their way.             10· ·bit.· But, also, there was no evidence related to
  11· · · · Q.· ·And so then explain to me, what's the        11· ·this murder recovered at this residence, either, was
  12· ·difference, then, between a search warrant and an      12· ·there?
  13· ·arrest warrant?                                        13· · · · A.· ·I don't -- I'm not -- I don't know if
  14· · · · A.· ·So, arrest warrant, you're looking for       14· ·there was or wasn't.
  15· ·somebody specifically.· A search warrant is giving     15· · · · Q.· ·Okay, okay.· If I were to represent to you
  16· ·you that authorization to go into the premise to       16· ·that no evidence related to this homicide was
  17· ·look for that person, look for evidence.· I mean, it   17· ·recovered at this residence, would you also qualify
  18· ·could be --                                            18· ·that as weird?
  19· · · · Q.· ·And then if you --                           19· · · · A.· ·I wouldn't -- no.· No.· Because the other
  20· · · · A.· ·-- numerous factors.                         20· ·thing that I understood, it was -- it was a
  21· · · · Q.· ·Right.· And then anyone who's there is       21· ·flophouse, so a lot of people came and went and kind
  22· ·going to be detained, correct?                         22· ·of used it to transition through.· So, typically,
  23· · · · A.· ·Correct, yeah.                               23· ·when that happens, people take everything they bring
  24· · · · Q.· ·Okay.· So just to loop back to my prior      24· ·with them, they take it with them.· Because if they
  25· ·question, then, was part of your understanding of      25· ·leave it, it's going to disappear.

                                                        67                                                          69
  ·1· ·the purpose of serving the search warrant was to       ·1· · · · Q.· ·And when did you learn that this was a
  ·2· ·apprehend the suspects in this murder?                 ·2· ·flophouse?
  ·3· · · · A.· ·You could get technical and say that, yes.   ·3· · · · A.· ·I believe that was said during the -- the
  ·4· ·Yeah.                                                  ·4· ·briefing.· Is they knew that -- they knew people
  ·5· · · · Q.· ·Okay.· We are getting technical.             ·5· ·were transitioning in and out of the apartment. I
  ·6· · · · A.· ·Yeah.· I mean, we could say, yeah, that      ·6· ·believe on the recon, they said when they were out
  ·7· ·anybody involved -- anybody -- the way I understood    ·7· ·on the recon, they observed people standing out
  ·8· ·it, anybody -- or -- there was a person inside that    ·8· ·front.
  ·9· ·apartment that was involved in a potential homicide    ·9· · · · · · ·So, I think it was a one- or two-bedroom
  10· ·investigation.                                         10· ·apartment, which those places -- typically -- if
  11· · · · Q.· ·Okay.                                        11· ·you're not on the lease you're not supposed to be
  12· · · · A.· ·So, yes.                                     12· ·there.· So not saying you can't have people over.
  13· · · · Q.· ·And as we sit here today, do you             13· ·But what I gathered is, it was -- people were coming
  14· ·understand that nobody involved in the homicide was    14· ·in and out of the apartment, staying there, that
  15· ·present in that apartment?                             15· ·probably weren't associated with the apartment.
  16· · · · A.· ·I found that out later, yes.                 16· · · · Q.· ·And if I understand correctly, and you
  17· · · · Q.· ·Okay.· Were you -- what was your position    17· ·tell me if I'm right or wrong, there was actually
  18· ·when you found that out later?· How did you react to   18· ·two apartments that they intended to serve search
  19· ·that?                                                  19· ·warrants on, correct?
  20· · · · A.· ·React?· As?                                  20· · · · A.· ·Yes.· I believe we were going to serve a
  21· · · · Q.· ·What was your feeling about it?              21· ·warrant on the first one and then go to a second
  22· · · · A.· ·I actually thought it was weird we didn't    22· ·one.
  23· ·find anybody involved.· The homicide we were going     23· · · · Q.· ·Were you going to be involved in the
  24· ·there for, because we ended up taking gunfire.· We     24· ·second one?
  25· ·had an officer shot.· We ended up shooting and         25· · · · A.· ·I don't think I was, actually.· I think


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  ·1· ·they had enough manpower -- yeah, I think they had     ·1· ·correct?
  ·2· ·enough manpower, where they were actually going to     ·2· · · · A.· ·Uh-huh.
  ·3· ·send Officer Bertuccini and I home.· They were going   ·3· · · · Q.· ·Okay.· So it was your understanding based
  ·4· ·to keep the other officer that came in with us.        ·4· ·on this briefing that it was going to -- it was a
  ·5· · · · Q.· ·And so when you qualified this as a          ·5· ·flophouse.· But the intention of the warrant as you
  ·6· ·flophouse and that your memory is that somehow that    ·6· ·understood it was to obtain evidence related to a
  ·7· ·was relayed to you during this briefing, was that      ·7· ·homicide; is that -- or did you not have any
  ·8· ·relied to you about this apartment or the second       ·8· ·understanding of that?
  ·9· ·apartment?                                             ·9· · · · A.· ·Any I understanding of?
  10· · · · A.· ·We only talked about this first apartment.   10· · · · Q.· ·What the intent of the warrant was.
  11· ·We didn't -- we didn't brief or plan or go over the    11· · · · A.· ·As far as evidence --
  12· ·second apartment.· We would have done that after we    12· · · · Q.· ·Yeah.
  13· ·handled this one.                                      13· · · · A.· ·-- goes?
  14· · · · Q.· ·Okay.· So your testimony here today is       14· · · · Q.· ·Yes.
  15· ·that the briefing at Sam's Town only involved this     15· · · · A.· ·I don't believe so.· I just -- I know -- I
  16· ·apartment, not the second --                           16· ·know for a fact we were serving a warrant on this
  17· · · · A.· ·Correct.                                     17· ·apartment related to a homicide.· Whether --
  18· · · · Q.· ·-- apartment?· Okay.                         18· ·whatever evidence was listed, I -- I don't recall.
  19· · · · A.· ·We were told there was a second apartment    19· · · · · · ·So -- and then same with the suspects.
  20· ·that we would handle after this one was secured and    20· ·They'll some -- we'll typically have detailed
  21· ·handled.                                               21· ·suspect information.· But at the end of the day,
  22· · · · Q.· ·Okay.· So, we've come up to the point        22· ·that really doesn't concern me.· Because as the SWAT
  23· ·where -- where you've done the briefing at Sam's       23· ·team, we're going to take everybody that's --
  24· ·Town.· And it's your testimony here today that you     24· ·everybody that's in that premise can be taken into
  25· ·were relayed information that this was some type of    25· ·custody under the search warrant.· So we're going to

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  ·1· ·flophouse and that there might have been people        ·1· ·take those people into custody and we're just going
  ·2· ·standing out front, correct?                           ·2· ·to hand them over to the detectives.· And that's
  ·3· · · · A.· ·Uh-huh.                                      ·3· ·their job, then, to figure them out.· So whether
  ·4· · · · Q.· ·And it's your memory as we sit here today    ·4· ·there was one person in there or 15, we're going to
  ·5· ·that only information about the apartment, the first   ·5· ·take everybody.· Because our job is to make the
  ·6· ·apartment, was gone over at the briefing, correct?     ·6· ·scene safe and then let them determine it.· So, the
  ·7· · · · A.· ·Yes.                                         ·7· ·way that I would look at it would -- would be that
  ·8· · · · Q.· ·Okay.· And that it was -- just to confirm,   ·8· ·way.
  ·9· ·it was your understanding -- it was relayed to you     ·9· · · · Q.· ·Okay.· All right.· So now we've gone
  10· ·that likely, the suspect from the murder that they     10· ·through what occurred at the -- at the Sam's Town
  11· ·were investigating would be present at this first      11· ·briefing.
  12· ·apartment, correct?                                    12· · · · A.· ·Okay.
  13· · · · A.· ·Correct.                                     13· · · · Q.· ·If you can kind of walk me through what
  14· · · · Q.· ·Okay.· And also just to confirm, in fact,    14· ·happened following the briefing.· And like -- I
  15· ·that suspect was not present, correct?                 15· ·mean, I made the offer again, do you want to take a
  16· · · · A.· ·I believe after they (indiscernible).        16· ·quick break?· Because I know this will be a long,
  17· · · · · · ·THE REPORTER:· You believe after?            17· ·long dialogue.
  18· · · · · · ·THE WITNESS:· After he wasn't -- that he     18· · · · · · ·THE REPORTER:· I would.
  19· ·wasn't.                                                19· · · · · · ·MR. ANDERSON:· She's all that matters.
  20· ·BY MS. MURPHY:                                         20· · · · · · ·MS. MURPHY:· The queen has spoken.
  21· · · · Q.· ·And -- sorry.· And so let me ask your        21· · · · · · ·THE VIDEOGRAPHER:· Off record at 11:28.
  22· ·opinion, because you talked about it a little          22· · · · · · · · · · · ·(Off record.)
  23· ·earlier.· You said look -- you tell me if I            23· · · · · · ·THE VIDEOGRAPHER:· We are back on record
  24· ·misunderstood your testimony.· You said, hey, look,    24· ·at 11:39 a.m.
  25· ·with a flophouse, people don't leave stuff behind,     25· ·...


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  ·1· ·BY MS. MURPHY:                                         ·1· ·can you explain that to me?
  ·2· · · · Q.· ·Prior to taking our short breaks, we had     ·2· · · · A.· ·I believe in this incidence we had what --
  ·3· ·gone through the briefing at Sam's Town.· And now if   ·3· ·we had one of the armored vehicles with us, so we'll
  ·4· ·you could kind of walk me through what happened --     ·4· ·typically have one of those vehicles that will lead,
  ·5· ·and we can break it up however you want, or if you     ·5· ·followed by the other trucks, right?· So -- because
  ·6· ·want to go through the whole dialogue, that's fine.    ·6· ·in this instance -- I can't remember how many
  ·7· ·But if you want to -- so the briefing's concluded at   ·7· ·officers we had, but we didn't have enough to fit in
  ·8· ·Sam's Town, and then what happens?                     ·8· ·the armored vehicle.
  ·9· · · · A.· ·After the briefing, at that point --         ·9· · · · Q.· ·You mean you had too many to fit in there
  10· · · · Q.· ·Sorry, I will try not to interrupt you       10· ·or not enough?
  11· ·going forward.                                         11· · · · A.· ·I wouldn't say that.· I'd say it's
  12· · · · · · ·We're going to review the body-worn camera   12· ·probably between the equipment and you typically
  13· ·footage, too, so I'm not trying to do a memory test    13· ·ride on the outside of it.· So we don't like to
  14· ·to you, I just want you to walk me through --          14· ·overload that in case, you know, get in an accident
  15· · · · A.· ·That's fine.                                 15· ·or somebody hits us --
  16· · · · Q.· ·-- and then we're going to review the BWC    16· · · · Q.· ·Sorry, maybe I misunderstood.· When you
  17· ·too.                                                   17· ·said -- you meant that you had too many for everyone
  18· · · · A.· ·Very simple.· After the briefing, we'll --   18· ·to ride in the armored vehicle, right?· Or you had
  19· ·we'll typically go load -- or help load up any         19· ·too --
  20· ·equipment that we need to bring along.· Bring a lot    20· · · · A.· ·Yeah.· There was just -- yeah, too many
  21· ·of standard equipment with us and stuff.               21· ·officers.· I mean --
  22· · · · · · ·I think in this situation, or in this        22· · · · Q.· ·All right.
  23· ·specific instance, we were taking my vehicle, my       23· · · · A.· ·-- we fit -- try to fit six or eight on an
  24· ·SWAT vehicle, my SWAT truck, Bertuccini and I.         24· ·armored vehicle, which isn't a lot.· But everybody
  25· · · · · · ·So we dressed out, loaded up, loaded our     25· ·else -- because we -- I think they only -- we only

                                                        75                                                          77
  ·1· ·equipment up in my truck, and then we kind of have     ·1· ·brought one armored truck -- typically bring two.
  ·2· ·a -- you know, a little vehicle package that leaves    ·2· ·So -- but in that case, we had -- some of the other
  ·3· ·Sam's Town.· So we're -- we're briefed the route and   ·3· ·plain SWAT vehicles like mine, just plain, unmarked
  ·4· ·which way we're going, how we're getting there, you    ·4· ·truck.· And then we usually have K-9 with us in
  ·5· ·know, where our -- where we're turning, where we're    ·5· ·their vehicle, because they have the dog in the
  ·6· ·stopping and all that.                                 ·6· ·back.· And then medical, so AMR, medical --
  ·7· · · · · · ·I remember we left Sam's Town, came out,     ·7· ·whatever, community ambulance.· And then the
  ·8· ·went -- where did we go?· Right -- northbound right    ·8· ·detective vehicles will -- will trail behind.· So
  ·9· ·on Nellis, right into the apartment complex.· We       ·9· ·that's kind of the vehicle package.
  10· ·pulled in to the left, went down a couple hundred      10· · · · Q.· ·Okay.· And I thought I knew what you meant
  11· ·feet, parked the truck, stopped, got out.· From        11· ·by that, but I just wanted to make sure.
  12· ·there, went to get out --                              12· · · · A.· ·No, no worries.
  13· · · · Q.· ·Sorry, what -- and I said I wasn't going     13· · · · Q.· ·So, sorry.· Keep going.· So you guys
  14· ·to interrupt you and I'm interrupting you.· But what   14· ·arrived, right?
  15· ·does "dressed out" mean?                               15· · · · A.· ·Yeah.· So we get there, park the truck, we
  16· · · · A.· ·So, we'll throw on our -- you know, our      16· ·get out.· Grab the equipment out of the back seat
  17· ·vest, helmet, you know, get any of our -- you know,    17· ·because it's kind of big and cumbersome.· Can't
  18· ·make sure our weapons are good, you know, everything   18· ·drive holding it.· We get that.· From there, we'll
  19· ·is loaded.· Make sure the -- basically, all our        19· ·all kind of just line up real quick.· And we
  20· ·equipment is good, right?· We have all our equipment   20· ·already -- everybody kind of already knows their
  21· ·on, all the stuff that we need.· You know, whether     21· ·place, where they're going.
  22· ·that's personal equipment or team equipment,           22· · · · · · ·So we'll get lined up in that kind of
  23· ·basically.                                             23· ·order, right?· So, yeah, like, your -- your breach
  24· · · · Q.· ·And you said that there will be a car        24· ·team first, then your entry team, and then your
  25· ·package.· I think I know what you meant by that, but   25· ·containment teams on the side or in the back.· Just


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  ·1· ·depend on which -- where we're going exactly.          ·1· · · · Q.· ·All right.· And so -- and I'm going to
  ·2· · · · · · ·So from there, we'll just kind of line up    ·2· ·jump around a the bit.· I'm going to hold off on
  ·3· ·in the order that we need to go.· So once we get to    ·3· ·going into the actual incident itself.
  ·4· ·where we're going we can -- everybody is, like --      ·4· · · · A.· ·Sure.
  ·5· ·breaks off into their respective spots.                ·5· · · · Q.· ·But as a result of this incident, did you
  ·6· · · · · · ·So we do that.· And then we start our        ·6· ·have to do, like, any counseling or therapy through
  ·7· ·approach on foot to the target --                      ·7· ·LVMPD?
  ·8· · · · Q.· ·Sorry, let me just stop you right there.     ·8· · · · A.· ·After?
  ·9· ·I want to ask.· And I think I know what you mean by    ·9· · · · Q.· ·Yeah.
  10· ·these terms, but I just want a clean record.           10· · · · A.· ·Uh-huh.
  11· · · · A.· ·Sure.                                        11· · · · Q.· ·What did you have to do?
  12· · · · Q.· ·What's the breach team?                      12· · · · A.· ·See a department psychologist.
  13· · · · A.· ·The breach team.· Whoever is going to open   13· · · · Q.· ·And how long?
  14· ·the door, break the window, that kind of thing.        14· · · · A.· ·How many visits did I have?· I'm not sure.
  15· · · · Q.· ·And what's -- so I'm going to ask you the    15· ·Probably a handful.
  16· ·difference, what's the difference between that and     16· · · · Q.· ·Okay.
  17· ·the entry team?                                        17· · · · A.· ·Yeah.
  18· · · · A.· ·So, the breach team, their sole              18· · · · Q.· ·Maybe between five and six or somewhere in
  19· ·responsibility is to gain the access, right?           19· ·that range?
  20· ·Whether that's ramming the door.· In this case, ram    20· · · · A.· ·Probably in that range, yeah.
  21· ·the door, right?· And then they're not going to ram    21· · · · Q.· ·Okay.· And did you have any emotional
  22· ·the door and run in.· They're going to ram the door,   22· ·impact or effect as a result of being involved in
  23· ·move out of the way, let the entry team come in, and   23· ·this officer-involved shooting?
  24· ·by the time the last guy comes in, they're going to    24· · · · A.· ·No.
  25· ·fall in on the back.                                   25· · · · Q.· ·Okay.

                                                        79                                                          81
  ·1· · · · Q.· ·Okay.· And then what's the difference        ·1· · · · A.· ·No.
  ·2· ·between the entry team and the containment team?       ·2· · · · Q.· ·All right.· So, I'm sorry.· So, you're --
  ·3· · · · A.· ·So, the containment teams are -- what they   ·3· ·if you can actually talk me through, you guys get up
  ·4· ·are, kind of contain kind of the area.· So the entry   ·4· ·to the unit.· And --
  ·5· ·team is the one actually going inside, the             ·5· · · · A.· ·Uh-huh.
  ·6· ·containment team is holding the outer -- the           ·6· · · · Q.· ·-- you -- you and Bertuccini are on what
  ·7· ·outside, more or less.                                 ·7· ·you described to me as kind of a containment team,
  ·8· · · · Q.· ·And so what team, as -- I know you were      ·8· ·right?· Even though technically you are kind of
  ·9· ·holding the shield and you were on a group with        ·9· ·breaching the apartment, too, because you're --
  10· ·Bertuccini.· But were you part of the breach team,     10· · · · A.· ·Correct.
  11· ·entry team, or containment team?                       11· · · · Q.· ·-- yeah, you're breaking the window.· And
  12· · · · A.· ·So, that would have been the window --       12· ·so if you can kind of walk me through -- and so the
  13· ·we'll use different terms.· That one was the window    13· ·window was on the side of the apartment, correct?
  14· ·containment team.· So -- because we knew we were       14· · · · A.· ·Correct.
  15· ·going to window, we were going to take out that        15· · · · Q.· ·Like, along the wall.· You guys weren't
  16· ·window.· But at the same time, we're going to          16· ·standing next to the door, correct?
  17· ·contain it, too.· So -- you know, so nobody can jump   17· · · · A.· ·Right.· It was, like, kiddy corner to the
  18· ·out of the open window we created.                     18· ·door, yes, on the other side.
  19· · · · Q.· ·Okay.· And I'm sorry, keep going.            19· · · · Q.· ·Perfect.· It was on the other side.
  20· · · · A.· ·No.· So we get there.· We start making the   20· · · · A.· ·Right.
  21· ·approach on foot.· And then we all break off in our    21· · · · Q.· ·Okay.· All right.· So, sorry, go ahead.
  22· ·respective positions.· And go -- go to work.           22· · · · A.· ·That's -- we take our respective
  23· · · · Q.· ·Okay.                                        23· ·positions, and -- I mean, sometimes the plans, in
  24· · · · A.· ·Wait for the plan to be initiated, more or   24· ·this case, too, the plan was being started as we
  25· ·less.                                                  25· ·were getting to our final position.


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  ·1· · · · Q.· ·So what does that mean?· What did -- the     ·1· · · · A.· ·Yeah.
  ·2· ·plan is getting started as we get to our final         ·2· · · · Q.· ·Okay.· So if I understand kind of what
  ·3· ·position?                                              ·3· ·you're telling me, was that you kind of heard, like,
  ·4· · · · A.· ·So we will -- they'll make a determination   ·4· ·what, like a couple -- you heard two announcements
  ·5· ·of how the plan will start.· I know in this instance   ·5· ·and then what happens?
  ·6· ·it was, hey, as soon as we land, when we say land,     ·6· · · · A.· ·We enact -- we enact our plan.
  ·7· ·that means we're getting there, right?· So as soon     ·7· · · · Q.· ·Okay.· And tell me in this case
  ·8· ·as -- as soon as the breach team lands, so that        ·8· ·specifically, describe to me what your plan was and
  ·9· ·means the breach team is there at the front door and   ·9· ·how you enact -- or describe to me the enactment of
  10· ·they're getting prepared to use the ram and hit the    10· ·your plan.
  11· ·front door, the entry team is already stacked up.      11· · · · A.· ·For Officer Bertuccini and I?
  12· ·So, hey, as we land, we're going to give out the       12· · · · Q.· ·Correct.
  13· ·announcements.· So bullhorn, hey, it's Metro police,   13· · · · A.· ·Okay.· So, on the second announcement,
  14· ·you know, give the address, location, whatever, or     14· ·that means he was going to break the window with the
  15· ·yell out, police with a search warrant.                15· ·stick, right?· Insert it, and then deploy it, right?
  16· · · · · · ·They'll -- we'll kind of hustle around if    16· ·So get the distract device to go off.· And then at
  17· ·we're not already there, but make sure we're in our    17· ·the same time, he'll use that same stick and pull
  18· ·position.· And then I believe in this incidence, it    18· ·the window out, like, the window coverings, you
  19· ·was on the -- I actually can't recall exactly, but I   19· ·know, the curtains, stuff like that.· Whatever -- I
  20· ·believe it was on the second -- it's typically the     20· ·think -- I think there was mini blinds, in there
  21· ·second or third announce is when we'll deploy our      21· ·pull those down at the same time.· Get a majority of
  22· ·little two-man plan with Officer Bertuccini and I of   22· ·the glass out of the window.
  23· ·inserting the stun stick into the window, breaking     23· · · · · · ·And then he'll move back, and then I --
  24· ·out the window.· And then I would step in with the     24· ·I'll step in with the shield.· Because I know the
  25· ·shield and cover the window.                           25· ·team is also -- excuse me -- coming in as well,

                                                        83                                                          85
  ·1· · · · · · ·So that kind of all came fairly quick,       ·1· ·right?· So I have the shield, so there's not -- you
  ·2· ·right?· So as -- I think -- as we were walking up      ·2· ·know, we can mitigate the crossfire issue of anybody
  ·3· ·they started initiating the plan of, hey, we're        ·3· ·getting hit with crossfire.
  ·4· ·going to give out the police -- search warrant,        ·4· · · · · · ·And then, essentially, I'll fill the
  ·5· ·police search warrant, we hear that twice.· We enact   ·5· ·window with the shield more or less, and see, you
  ·6· ·our plan, they ram the door, go in.                    ·6· ·know, what's going on in this case, you know.· In
  ·7· · · · Q.· ·And so I read, you know, quite a bit --      ·7· ·this instance, as soon as he pulled out of the
  ·8· ·I've read a lot of different interviews.· I know       ·8· ·window and I stepped up, there was gunfire going
  ·9· ·you've only read your interview.                       ·9· ·off.
  10· · · · · · ·But what keeps coming up as I read these     10· · · · Q.· ·Okay.· And how -- how big is the shield?
  11· ·is that the -- if I understand it correctly, kind of   11· · · · A.· ·It's 24 by 36 inches.
  12· ·the -- like, what was agreed or what your normal       12· · · · Q.· ·How heavy is it?· You don't have to know
  13· ·course of action was, is that you guys had to wait     13· ·exact weight.· If you could just kind of describe
  14· ·two announcements and then you could start the         14· ·it.
  15· ·breach, correct?                                       15· · · · A.· ·Ten to twelve pounds.
  16· · · · A.· ·Okay.· Is it -- is it two?· I -- it's        16· · · · Q.· ·Okay.
  17· ·usually two to three, yeah.                            17· · · · A.· ·Yeah.
  18· · · · Q.· ·Okay.· And so -- and that was, like, no      18· · · · Q.· ·And I'm going to ask you, when I was
  19· ·matter how fast those two or three announcements       19· ·reading your CIRT interview, you said, then I
  20· ·comes out, that was kind of what you guys would wait   20· ·stepped up with the shield.· I just kind of laid it
  21· ·for, right?· Is, like, okay, wait for at least two     21· ·off.· I didn't fill the window completely, which I'm
  22· ·or three announcements and then we breach, correct?    22· ·glad I didn't.
  23· · · · A.· ·Uh-huh.                                      23· · · · A.· ·Uh-huh.
  24· · · · Q.· ·Okay.· Sorry, keep going.· So you're up at   24· · · · Q.· ·Why were you -- and I really want to know,
  25· ·the -- so you --                                       25· ·why were you -- I didn't understand that statement.


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  ·1· ·Why were you glad you didn't fill the window           ·1· ·I would -- if I had to guess, and this is my guess,
  ·2· ·completely?                                            ·2· ·is the light did draw his attention and that's why
  ·3· · · · A.· ·So, when I say "fill the window", I don't    ·3· ·he turned.· And when I say turned, I mean, he was
  ·4· ·mean, like, actually replacing the window with the     ·4· ·laying on a couch.· All he had to do was move his
  ·5· ·shield.· I mean just -- presenting the majority of     ·5· ·hand over.· So...
  ·6· ·the shield in the window, right?· Because the goal     ·6· · · · Q.· ·Right.
  ·7· ·is, is the shield has a little view port in it,        ·7· · · · A.· ·And then shot out -- shot out at the
  ·8· ·right?· Is to look through there to see, you know,     ·8· ·window where I was.
  ·9· ·what's going on, right?· In this case, it was taking   ·9· · · · Q.· ·Right.· But you hadn't -- you hadn't --
  10· ·gunfire.                                               10· ·you hadn't pulled your trigger of your gun at that
  11· · · · · · ·So, had I been up to the window where        11· ·point in time, had you, when you just flashed the
  12· ·Williams was, because he turned back and fired at      12· ·light on and off?
  13· ·me, which the shield was struck by his gunfire.· Had   13· · · · A.· ·No.
  14· ·I been -- I was kind of can- -- my body was kind of    14· · · · Q.· ·Okay.· And thank you for bearing with me.
  15· ·canted.· Had I been, like, traditionally standing up   15· ·I know I jump around, but you mentioned it, so I
  16· ·in front of it like this, instead of more like, you    16· ·wanted to get to that.
  17· ·know, standing off to the side position, I would       17· · · · A.· ·Okay.
  18· ·have been struck by his gunfire.· So that's what I     18· · · · Q.· ·So, you guys come up to the -- if you
  19· ·meant when I made that statement.                      19· ·could kind of walk me through.· You come up to the
  20· · · · Q.· ·And we'll go through it, too.· But --        20· ·window, you hear two announcements, and then -- I
  21· ·because you just mentioned -- I kind of wanted to      21· ·know we've kind of covered it, but I'd like to hear
  22· ·get some clarification on that.                        22· ·your whole narrative.
  23· · · · · · ·Reading your prior interviews, it wasn't     23· · · · · · ·So you come up to the window, and then
  24· ·clear to me, did you feel that Williams was shooting   24· ·please walk me through what happened.
  25· ·at you specifically, or did you feel like he was       25· · · · A.· ·So I come up to the window.· At that point

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  ·1· ·just arcing his gun?                                   ·1· ·the window is already taken out, Bertuccini has kind
  ·2· · · · A.· ·He shot at me specifically.· Because I       ·2· ·of stepped back off to my back left.
  ·3· ·could see the muzzle flashes from his gun.· That       ·3· · · · Q.· ·Yeah, so, sorry.· I guess I was going
  ·4· ·means he's shooting -- shooting at me.· Plus, I        ·4· ·to -- I should have asked before.· Is he to your
  ·5· ·could feel the bullet hit the shield.                  ·5· ·left or to your right?
  ·6· · · · Q.· ·Right.· I guess my question is a little      ·6· · · · A.· ·Left.
  ·7· ·bit different.· I don't mean is he shooting at         ·7· · · · Q.· ·Okay.· So he goes to the window, steps
  ·8· ·your -- in your direction.· You talked about turning   ·8· ·back, and then you pull up, right?
  ·9· ·your light on and off and how you thought that drew    ·9· · · · A.· ·Uh-huh.
  10· ·his attention to -- in that direction -- in your       10· · · · Q.· ·Is it -- I don't --
  11· ·direction, correct?                                    11· · · · A.· ·Step up, walk up.
  12· · · · A.· ·Yes.                                         12· · · · Q.· ·Okay.· So, sorry, go ahead.
  13· · · · Q.· ·So when I say shooting at you directly,      13· · · · A.· ·So I -- he steps out, I step up.· Because
  14· ·what -- I guess what I'm trying to dial in a little    14· ·of the distract device, when it goes off, especially
  15· ·bit more is, do you feel that he was shooting at you   15· ·inside of a structure, it creates a lot -- you know,
  16· ·specifically as an officer, or do you think that he    16· ·it's designed to create smoke and flash and noise.
  17· ·was just shooting around, and then also the light of   17· ·It creates quite a bit of smoke.· And where it's
  18· ·your gun distract -- pulled his attention?· Do you     18· ·deployed, that smoke is pretty heavy.
  19· ·understand the difference I'm making?                  19· · · · · · ·So, the vacuum effect or the air flow at
  20· · · · A.· ·I mean -- yeah, we kind of -- really lead    20· ·that time when they hit the front door open with the
  21· ·up to that point with the whole light coming on and    21· ·window being broken, it created all that smoke to
  22· ·off type thing.                                        22· ·kind of get pushed out of the window.· So as I
  23· · · · Q.· ·Right.· I jump around.· Thank you for        23· ·stepped up, I kind of was stepping up into the
  24· ·bearing with me.                                       24· ·smoke, of the distract device going off.
  25· · · · A.· ·But -- I don't know what his intent was.     25· · · · · · ·So I stepped up -- I could hear the


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  ·1· ·gunfire, but I couldn't really see where it was        ·1· ·that.· We're just going to go over that stuff.
  ·2· ·from.· So I clicked on the light, the pistol that I    ·2· · · · · · ·And so in terms of the shield -- hold on
  ·3· ·have has a light on it.· I clicked it on and           ·3· ·one second.· I'm going to tear this off.· Okay.· I'm
  ·4· ·immediately was blinded because of all the smoke.      ·4· ·going to hand you pictures of what I understand are
  ·5· ·So, that smoke, you know, dissipates real quick. I     ·5· ·the shield.· If we could please mark these as?
  ·6· ·mean, it -- you know, it's not like it hangs around    ·6· · · · · · ·THE REPORTER:· 3.
  ·7· ·for ten minutes, right?                                ·7· · · · · · ·MS. MURPHY:· 3, Exhibit 3.
  ·8· · · · · · ·So, in that time from clicking my light      ·8· · · · · · · · (Exhibit No. 3 was marked.)
  ·9· ·off, it -- or clicking it on and then clicking it      ·9· ·BY MS. MURPHY:
  10· ·off, that's when I saw the muzzle flashes and felt     10· · · · Q.· ·And I know that you don't have a
  11· ·the shield getting hit.· And I was, like, okay, the    11· ·photographic memory, but if I present this to you,
  12· ·guy is right here.· He's right in front of me.         12· ·that this has been put in the report that this was
  13· · · · · · ·So, I -- and I knew the officers -- I had    13· ·the shield that you used at the time of the
  14· ·seen them kind of come out and go -- you know, come    14· ·officer-involved shooting, is that consistent with
  15· ·along this way in the apartment.· So, I was able to,   15· ·your memory?
  16· ·you know, quickly realize, like, okay, he's right      16· · · · A.· ·Uh-huh.· Yes.
  17· ·here, kind of in this corner.· So then I clicked       17· · · · Q.· ·And it shows the -- I guess it's the
  18· ·light back on the second time, the smoke had already   18· ·bullet point, it's marked as A1 right here.· Do you
  19· ·kind of dis- -- you know, cleared out, clicked on      19· ·see that?· Is that -- is that -- I'm assuming
  20· ·the light, saw him shooting, and so I had to return    20· ·they're trying to --
  21· ·fire and shoot -- shoot back.                          21· · · · A.· ·Yes.
  22· · · · Q.· ·Okay.                                        22· · · · Q.· ·-- call that out.
  23· · · · A.· ·So...I ended up firing three rounds.· And    23· · · · A.· ·Yeah.
  24· ·then at that point, I -- I assessed that, okay, he's   24· · · · Q.· ·And so this is the shield, and that's
  25· ·not moving any more.· He's deceased, right?· So,       25· ·the -- they also called it out as the round impact,

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  ·1· ·stop -- I stopped firing.· I believe everybody else    ·1· ·correct?
  ·2· ·did, too, at kind of the same time.                    ·2· · · · A.· ·Yes.
  ·3· · · · · · ·So at that point, I stayed in the window     ·3· · · · Q.· ·All right.· And then I'm going to ask --
  ·4· ·because that's my job.· Just kind of observe what      ·4· ·this is another page from the report, and it's Bates
  ·5· ·was going on real quick, make sure everybody was       ·5· ·LVMPD 004271.· We'll mark this as Exhibit 4.
  ·6· ·good.· I didn't realize anybody had really been shot   ·6· · · · · · · · (Exhibit No. 4 was marked.)
  ·7· ·yet.· So I know I had, right, the shield -- well,      ·7· ·BY MS. MURPHY:
  ·8· ·the shield had that I was holding, so I kind of        ·8· · · · Q.· ·James, is this you?
  ·9· ·stepped back real quick and look and -- I looked at    ·9· · · · A.· ·That's me.
  10· ·the shield, and I was, like, oh, man, you know, the    10· · · · Q.· ·All right.
  11· ·shield took a couple rounds.                           11· · · · A.· ·Yup.
  12· · · · · · ·And then I know Bertuccini and I asked,      12· · · · Q.· ·And so when you said earlier "dressed
  13· ·hey, are you okay?· Are you good?· Let's check         13· ·out", is this what you meant?· You're -- I would
  14· ·yourself.· Check yourself, cool.· We both realized     14· ·call it suited up, but...
  15· ·we -- we weren't struck by gunfire.                    15· · · · A.· ·Yes, yeah.
  16· · · · · · ·And then after that, it's -- just the --     16· · · · Q.· ·And this is taken from the -- is this
  17· ·kind of the FIT and CIRT process that follows, you     17· ·photo taken from the day of the incident, to the --
  18· ·know.· And that's -- right?· Treating the injured      18· ·do you know -- if you can --
  19· ·officer, containing the scene, locking it down.· You   19· · · · A.· ·Yes, it was.· Yeah.
  20· ·know, kind of the police response to shootings,        20· · · · Q.· ·And so this is all the equipment that you
  21· ·right?· You know, isolating the -- the officers who    21· ·were wearing on the day of the incident, correct?
  22· ·shot, right, and all that.                             22· · · · A.· ·Correct.
  23· · · · Q.· ·Let's take -- let's kind of pause there,     23· · · · Q.· ·Okay.· And there's also a picture of a --
  24· ·and we'll get into the rest of it.· I just want to     24· ·what I understand is a Glock 17 on here.· Was this
  25· ·go back over -- I've got some photos and stuff like    25· ·your service weapon the day of this incident?


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  ·1· · · · A.· ·Correct.                                     ·1· ·this something special for SWAT?
  ·2· · · · Q.· ·And this is -- is this the weapon that you   ·2· · · · A.· ·This is standard for Metro overall, yeah.
  ·3· ·discharged?                                            ·3· · · · Q.· ·Okay, all right.· And then I'm going to
  ·4· · · · A.· ·Correct.                                     ·4· ·hand you some other photos, and I'm going to ask
  ·5· · · · Q.· ·And you talked about the light that you      ·5· ·that we mark this as Exhibit 5.· This is another
  ·6· ·turned on.· Is this -- I mean, it looks to me like     ·6· ·page with a photo of the actual -- I believe the
  ·7· ·a -- like a little flashlight underneath.· Is that     ·7· ·apartment building, and it's Bates LVMPD 004405.
  ·8· ·what you had turned on?                                ·8· · · · · · · · (Exhibit No. 5 was marked.)
  ·9· · · · A.· ·Yes.                                         ·9· ·BY MS. MURPHY:
  10· · · · Q.· ·Okay.· Do you know what kind of flashlight   10· · · · Q.· ·And this has been described in the report
  11· ·that is, by any chance?                                11· ·as Officer Rothenburg's perspective.· Would you
  12· · · · A.· ·It's called a Modlite, M-o-n- -- or          12· ·agree with that?
  13· ·M-o-d-l-i-t (sic).                                     13· · · · A.· ·Yeah, yes.
  14· · · · Q.· ·And you seem to know about it pretty well.   14· · · · Q.· ·Okay.· As we sit here today, and the
  15· ·Can you tell me, is there, like, something special     15· ·shield's sitting there, too.· As we sit here today,
  16· ·about that kind of light?                              16· ·is this the window that, to your recollection,
  17· · · · A.· ·It's just a higher quality light.            17· ·Officer Bertuccini had put the stun stick through
  18· · · · Q.· ·And you tell me if I'm -- what do you mean   18· ·and then you put the shield --
  19· ·by higher quality?· Sorry.· Like, brighter or more     19· · · · A.· ·Yes.
  20· ·focused?                                               20· · · · Q.· ·-- in front of?
  21· · · · A.· ·Just, knowing it, you know, through kind     21· · · · · · ·All right.· And so I see -- you tell me if
  22· ·of tactical industry, that it's a -- it's a            22· ·I'm right or wrong.· I see that the shield was still
  23· ·well-known brand.· Like, it's, you know, military      23· ·there.· So when you left this area, you just left
  24· ·uses it, stuff like that.· Just a robust -- you        24· ·the shield there; is that correct?
  25· ·know, it's --                                          25· · · · A.· ·Yes.

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  ·1· · · · Q.· ·If I --                                      ·1· · · · Q.· ·Okay.· Is that, like, standard protocol?
  ·2· · · · A.· ·You can drop it more than once.· Battery     ·2· ·Like, if you would have a piece of equipment like
  ·3· ·life is good.                                          ·3· ·that and there's an officer-involved shooting, you
  ·4· · · · Q.· ·If I called this a military-grade light,     ·4· ·just leave it there?
  ·5· ·would you agree with that?· If you don't, that's       ·5· · · · A.· ·Yeah.· It was considered a piece of
  ·6· ·fine.                                                  ·6· ·evidence at that point, yeah.
  ·7· · · · A.· ·I would say that they use it.                ·7· · · · Q.· ·Okay.· And I guess that's a better way for
  ·8· · · · Q.· ·Okay.                                        ·8· ·me to ask that, is that was, like, is it normal,
  ·9· · · · A.· ·But, yeah.                                   ·9· ·something's considered a piece of evidence that you
  10· · · · Q.· ·Okay.· So is -- would it be fair if I said   10· ·just leave it on the scene?
  11· ·that this is a light that is commonly used by -- by    11· · · · A.· ·Yes.
  12· ·either police officers or military; is that            12· · · · Q.· ·But you didn't leave your gun on the
  13· ·accurate?                                              13· ·scene, did you?
  14· · · · A.· ·Correct, yeah.· Uh-huh.                      14· · · · A.· ·No.
  15· · · · Q.· ·And does the gun -- I don't know anything    15· · · · Q.· ·Did you hand that over to somebody
  16· ·about the guns.· Does the gun come like this or do     16· ·immediately?
  17· ·you put it on there?                                   17· · · · A.· ·Not initially, no.
  18· · · · A.· ·No, the light and then the sight up there    18· · · · Q.· ·Okay.
  19· ·on the top is after.· That's -- doesn't come with      19· · · · A.· ·But they did take it, yeah.
  20· ·the gun.                                               20· · · · Q.· ·How soon after did they take it?
  21· · · · Q.· ·Okay.· And is it -- is this standard,        21· · · · A.· ·Couple hours.
  22· ·though, that they -- the police force for SWAT         22· · · · Q.· ·Okay.· And, so, we kind of walked through
  23· ·modifies these Glocks like this?· Or is it just        23· ·the actual incident itself.· And like I've said a
  24· ·for -- sorry, strike that.· Let me ask this again.     24· ·few times, we're going to watch the BWC as well.
  25· · · · · · ·Is this standard for all officers, or is     25· ·But if we can kind of -- we'll loop back to that.


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  ·1· ·If I can -- you can kind of tell me about what         ·1· ·arrived.
  ·2· ·happened in the hours after the incident.              ·2· · · · Q.· ·Is that a PPA attorney?
  ·3· · · · A.· ·Okay.                                        ·3· · · · A.· ·FOP.
  ·4· · · · Q.· ·So obviously -- not obviously.· But,         ·4· · · · Q.· ·FOP, okay.
  ·5· ·they -- just to confirm, you weren't on the breach     ·5· · · · A.· ·FOP attorney.
  ·6· ·team.· You didn't go through the front door,           ·6· · · · · · ·In the meantime, they -- while waiting to
  ·7· ·correct?                                               ·7· ·be interviewed, because they had -- you know, there
  ·8· · · · A.· ·Correct.                                     ·8· ·was quite a few officers involved, I believe I
  ·9· · · · Q.· ·Okay.· And so everything kind of -- would    ·9· ·conducted an interview with the Force Investigation
  10· ·they -- would you call it securing the apartment?      10· ·Team first, FIT.
  11· · · · A.· ·As far as?                                   11· · · · · · ·And then from there, I waited -- they gave
  12· · · · Q.· ·Like, everyone -- like, everyone is kind     12· ·me a Breathalyzer test, right, to see if I had
  13· ·of accounted for, Kubla's been taken out.              13· ·consumed any alcohol previously.· And then also
  14· · · · A.· ·Securing the area, yeah.                     14· ·conducted a urinalysis as well.· They took that.
  15· · · · Q.· ·Okay.· So the area has been secured.· And    15· ·Then I met with the PEEP representatives,
  16· ·so then what happens then?                             16· ·employee -- Police Employee Assistance Program.· So,
  17· · · · A.· ·At that point, we're just kind of waiting    17· ·talked to them.
  18· ·for the notifications to be made to all the            18· · · · · · ·And then I went and did the actual
  19· ·respective investigative units.· This, I believe, is   19· ·criminalistics process, which -- that's when they
  20· ·five-something in the morning.· So they're probably    20· ·take -- take my handgun, right?· Take the handgun in
  21· ·still -- I would assume they were still asleep.· So,   21· ·this case.· They took it, photographed it, wrote
  22· ·you know, have to wait for them to get up, get         22· ·down all the serial numbers.· They took all the
  23· ·dressed, respond to where we were at.· So it takes a   23· ·ammunition that I had, that I was carrying, and
  24· ·little while.                                          24· ·counted it all down.· How many kind of bullets were
  25· · · · · · ·And then also with it being an               25· ·there, to make sure that, you know, I said I fired

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  ·1· ·officer-involved shooting, they have to get, you       ·1· ·three rounds, that three rounds were expended.
  ·2· ·know, the criminalistic section out there, right?      ·2· · · · · · ·And then they noticed me for the
  ·3· ·CSI to come out and process the scene.· So, there's    ·3· ·investigation, you know, for the -- the CIRT
  ·4· ·interviews involved, there's body camera review.· So   ·4· ·interview and all that stuff.
  ·5· ·it's a fairly lengthy process initially.               ·5· · · · · · ·And then released -- basically released me
  ·6· · · · Q.· ·Okay.· And that occurs at the scene,         ·6· ·back to SWAT, SWAT team, right?· So we had to
  ·7· ·correct?                                               ·7· ·collect up all the equipment and stuff that we had.
  ·8· · · · A.· ·Yes.                                         ·8· ·And then leave -- leave the scene eventually.
  ·9· · · · Q.· ·And so if you can remember, to the best of   ·9· · · · Q.· ·Did you go back to work the next day or
  10· ·your memory, if you can give me your best estimate,    10· ·did you have a certain amount of time off relative
  11· ·too, approximately how long after the actual           11· ·to the -- being involved in the officer-involved
  12· ·officer-involved shooting did you remain on the        12· ·shooting?
  13· ·scene for?                                             13· · · · A.· ·No.· They make you take time off, yeah.
  14· · · · A.· ·About six hours.                             14· · · · Q.· ·Do you remember approximately how long you
  15· · · · Q.· ·Okay.· And is it fair for me to assume       15· ·took off?
  16· ·that that six hours kind of involved you getting       16· · · · A.· ·I believe I was off for close to six
  17· ·interviewed, providing evidence, them doing these      17· ·months.
  18· ·types of things?· Or tell me -- is that correct?       18· · · · Q.· ·Okay.
  19· · · · A.· ·Yes.                                         19· · · · A.· ·Almost, yeah.
  20· · · · Q.· ·Okay.· Did they do things, like, did they    20· · · · Q.· ·And was that -- do you understand -- do
  21· ·swab your hands for gun powder?· I really don't        21· ·you know why you were off for that length of time?
  22· ·know.· I'm asking.                                     22· · · · A.· ·Just -- it's just the length of the
  23· · · · A.· ·No.· So they'll -- I had to write -- you     23· ·investigation, more or less.· That, and coupled with
  24· ·know, I'm entitled to representation at that point.    24· ·the -- meeting with the psychologist, right?· And
  25· ·So, I was waiting for my attorney to arrive.· He       25· ·their assessment of when they determine you're


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  ·1· ·mentally fit to go back to work.· So...                ·1· ·reaction for it to deploy.· You have to pull it down
  ·2· · · · Q.· ·Okay.· And having reviewed what I think is   ·2· ·and then let go of it, right?
  ·3· ·actually the -- the CIRT interview, there was two --   ·3· · · · · · ·So the first couple times people use it,
  ·4· ·and we talked about it a little bit.· There was two    ·4· ·they tend to, like, let the handle ride, which is
  ·5· ·interviews, right?· There's the FIT interview and      ·5· ·not enough force to hit the shotgun primer.· So
  ·6· ·then there's the CIRT interview, correct?              ·6· ·that's why I kept saying pulling it, pull it.· Or if
  ·7· · · · A.· ·Correct.                                     ·7· ·they don't pull it all the way down, then that will
  ·8· · · · Q.· ·Okay.· And so the FIT interview was taken    ·8· ·also create that kind of malfunction, more or less.
  ·9· ·that same day, correct?                                ·9· · · · Q.· ·Do you think that there's an actual
  10· · · · A.· ·(The witness moved his head up and down.)    10· ·problem with how this is designed?
  11· ·Yes.                                                   11· · · · A.· ·No.
  12· · · · Q.· · But it wasn't on the scene, you went        12· · · · Q.· ·Okay.
  13· ·somewhere.· Did you go down to, like, an office?       13· · · · A.· ·No.
  14· ·You went down to an office, correct?                   14· · · · Q.· ·But do you think that -- you tell me if
  15· · · · A.· ·No, it was on -- it was on scene.            15· ·this is right or wrong.· Do you think Bertuccini
  16· · · · Q.· ·Okay.                                        16· ·kind of fumbled with it a little bit?
  17· · · · A.· ·Yeah.· In the parking lot.                   17· · · · A.· ·No, not that he fumbled with it.· I mean,
  18· · · · Q.· ·Okay.· All right.· And then my               18· ·he just had to release it.· That's it.
  19· ·understanding, having reviewed the CIRT -- your CIRT   19· · · · Q.· ·Okay.
  20· ·statement is that that was nine days later; is that    20· · · · A.· ·So...
  21· ·consistent with your recollection?                     21· · · · Q.· ·And then --
  22· · · · A.· ·I believe so.· I don't remember how many     22· · · · A.· ·But they're also -- I'm sorry.
  23· ·days or far apart it was.                              23· · · · Q.· ·No, no, keep going.· Please keep going.
  24· · · · Q.· ·It was -- was it fair to say that -- well,   24· · · · A.· ·There also is a delay, too.· Right?· So
  25· ·you tell me.· Is your memory that it was kind of       25· ·there's, like, a -- I think a one-and-a-half second

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  ·1· ·fairly soon thereafter?                                ·1· ·delay on it.
  ·2· · · · A.· ·Yes, yes.                                    ·2· · · · · · ·So sometimes they'll already pull it, and
  ·3· · · · Q.· ·And these interviews seem pretty intense.    ·3· ·you're already, like, hey, pull, pull.· And they've
  ·4· ·What was your feeling -- what was your experience      ·4· ·already done it, you're just kind of waiting for it
  ·5· ·going through these interviews?                        ·5· ·to go off.· So it could have been a little bit of
  ·6· · · · A.· ·It's just very thorough.                     ·6· ·that, too.
  ·7· · · · Q.· ·Okay.· And did you make any notes that you   ·7· · · · Q.· ·Now, maybe this is a dumb question.· How
  ·8· ·took with any -- to any of the interviews with you?    ·8· ·does this not blow up in your hands?
  ·9· · · · A.· ·No.                                          ·9· · · · A.· ·It's on top of a stick.
  10· · · · Q.· ·Okay.· All right.· And we'll see it in the   10· · · · Q.· ·Okay.
  11· ·body-worn camera footage, too.                         11· · · · A.· ·Yeah.
  12· · · · · · ·But was there an issue with Officer          12· · · · Q.· ·That's where the actual firing mechanism
  13· ·Bertuccini having a problem with the stun stick?       13· ·is?· Or, like, where the gun powder is loaded?
  14· · · · A.· ·Initially, I just kept telling him to        14· · · · A.· ·The distract device is at the top, yeah.
  15· ·pull.· I kept saying pull, pull, pull.· Because it     15· · · · Q.· ·Okay, all right.· And then I wanted to --
  16· ·was a newer -- it was a newer stun stick that we       16· ·you talked about it a little bit, but I wanted to go
  17· ·were using.· So, take -- get it to actually deploy,    17· ·back to this.· Because what you said in your CIRT
  18· ·it's -- I don't know -- it's not difficult, but it     18· ·statement was, so when I shined my light into the
  19· ·required -- you know, it's a plunger-type system.      19· ·smoke, it basically -- it blinded me.· I couldn't
  20· ·But you have to release it because it's -- it's        20· ·see anything, like, shining or headlights in the
  21· ·spring-loaded.                                         21· ·fog.
  22· · · · · · ·So if you pull it down and then let it       22· · · · A.· ·Uh-huh.
  23· ·ride up, like -- it's got to hit a -- basically a      23· · · · Q.· ·And so we talked about it a little bit
  24· ·shotgun primer.· So if you try to ride it up, it       24· ·before, and I just want to confirm.· Yeah, when you
  25· ·won't engage the primer which will start the chain     25· ·turned that light on, it actually created an


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  ·1· ·atmosphere where nothing could be kind of seen; is     ·1· ·hard, physical evidence that can't easily be
  ·2· ·that correct?                                          ·2· ·destroyed, correct?
  ·3· · · · A.· ·Correct.                                     ·3· · · · A.· ·Correct.
  ·4· · · · Q.· ·Okay.· And as we sit here today, your        ·4· · · · Q.· ·And so you tell me if I'm right or wrong.
  ·5· ·testimony is that you think that the shining of the    ·5· ·You knew that this was a homicide warrant, correct?
  ·6· ·light drew Mr. Williams' attention to your             ·6· · · · A.· ·Uh-huh.
  ·7· ·direction, correct?                                    ·7· · · · Q.· ·And so was your -- did you even think
  ·8· · · · A.· ·Uh-huh.· Correct.                            ·8· ·about it, or was just the assumption, like, well,
  ·9· · · · Q.· ·Okay.· And I apologize if I've asked this.   ·9· ·we're looking for homicide-type stuff, like a gun or
  10· ·But just so that I understand.· You didn't             10· ·knife or something like that.
  11· ·understand what the -- did you know what the actual    11· · · · A.· ·Yes.
  12· ·search warrant was looking for?                        12· · · · Q.· ·Okay.· But you were also looking for the
  13· · · · A.· ·Just the homicide suspect.                   13· ·suspects, correct?
  14· · · · Q.· ·Okay.                                        14· · · · A.· ·Correct.
  15· · · · A.· ·Yeah.· Not identified specifically.          15· · · · Q.· ·And the intention was to detain them,
  16· · · · Q.· ·Okay.· Do you think that it's necessary      16· ·correct?
  17· ·for you to know what items a search warrant is         17· · · · A.· ·Yes.
  18· ·looking for?                                           18· · · · Q.· ·Okay.· And they asked you about it in the
  19· · · · A.· ·No.                                          19· ·CIRT interview, but I don't -- I just want to
  20· · · · Q.· ·Okay.· Do you -- and I know that you're      20· ·confirm, because you -- are you aware that there's
  21· ·saying no, but I'm going to ask you a follow-up        21· ·an -- you're aware that there's an issue with the
  22· ·question.                                              22· ·brass wrap on the door, correct?
  23· · · · A.· ·Uh-huh.                                      23· · · · A.· ·Yes.
  24· · · · Q.· ·So wouldn't you -- is -- is your approach    24· · · · Q.· ·Okay.· But you weren't on the team that
  25· ·different if the items are something that can          25· ·was breaching at the door, correct?

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  ·1· ·perhaps be easily destroyed versus not easily          ·1· · · · A.· ·Correct.
  ·2· ·destroyed?                                             ·2· · · · Q.· ·Yeah.· And so at the time that that may or
  ·3· · · · A.· ·I guess, yeah.                               ·3· ·may not have been going on, were you aware of that
  ·4· · · · Q.· ·So then wouldn't it be important to know     ·4· ·at all?
  ·5· ·what the search warrant is looking for?                ·5· · · · A.· ·No.
  ·6· · · · A.· ·I mean, in this case, you know, like,        ·6· · · · Q.· ·Okay.· And you were part of the explosive
  ·7· ·narcotics, we know we're looking for narcotics.· In    ·7· ·breach unit, correct?
  ·8· ·this case, it was homicide.· We know we're looking     ·8· · · · A.· ·Uh-huh.
  ·9· ·for a person, right?· Or evidence of the homicide,     ·9· · · · Q.· ·Would you --
  10· ·which that could be anything.· It could be a weapon,   10· · · · A.· ·Yes.
  11· ·it could be clothing, it could be a knife.· I mean,    11· · · · Q.· ·Sorry.· Yes?
  12· ·it could be...                                         12· · · · A.· ·Yes.
  13· · · · Q.· ·Nothing, though, that can be destroyed,      13· · · · Q.· ·Okay.· And would you have to do recons to
  14· ·correct?                                               14· ·serve those breach -- or the explosive breach
  15· · · · A.· ·Depends.                                     15· ·warrants?
  16· · · · Q.· ·Let me -- let me -- let me ask this in a     16· · · · A.· ·Yeah, they would typically -- we would
  17· ·better way.                                            17· ·typically take somebody that's -- their specialty
  18· · · · · · ·If -- if you're doing a narcotic search      18· ·and bring them along, yes.
  19· ·warrant and you're going after cocaine, you know       19· · · · Q.· ·Okay.
  20· ·that that's something that can be destroyed, right?    20· · · · A.· ·If that was what they decided to do or
  21· · · · A.· ·Depending on how much it is, yeah, right.    21· ·use.
  22· · · · Q.· ·Let's say it's a destroyable amount.         22· · · · Q.· ·Okay.· And knowing kind of like the
  23· · · · A.· ·Okay.                                        23· ·totality of all the circumstances here, do you think
  24· · · · Q.· ·Okay.· And so that's going to be different   24· ·that this warrant could have been served any
  25· ·than if you're looking for a gun or knife or other     25· ·differently?


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  ·1· · · · A.· ·I mean, we could have -- based off the       ·1· ·higher level of approval than the SWAT lieutenant at
  ·2· ·totality, we could have used an explosive breach on    ·2· ·the time.
  ·3· ·the door or the window or both.· But as far as         ·3· · · · Q.· ·Okay.· And I -- again, I understand that
  ·4· ·serving it, I believe we were -- everything else was   ·4· ·you weren't part of the breach team at the door, but
  ·5· ·in line with our normal procedures and how we've       ·5· ·you understand -- but you understand that there was
  ·6· ·done it in the past.                                   ·6· ·some question about calling a tactical related to
  ·7· · · · Q.· ·And that's in line as it was in 2022,        ·7· ·the brass wrap on the door and difficulty getting
  ·8· ·correct?                                               ·8· ·through the door, correct?
  ·9· · · · A.· ·Correct.                                     ·9· · · · A.· ·Yes.
  10· · · · Q.· ·Okay.· And you were involved in a prior      10· · · · Q.· ·Okay.· What's your position on that?· Do
  11· ·incident with an explosive breach, correct?            11· ·you think a tactical -- knowing what you know now,
  12· · · · A.· ·Yes.                                         12· ·do you think a tactical should have been called?
  13· · · · Q.· ·And can you kind of walk me through what     13· · · · · · ·MR. ANDERSON:· Objection, form.
  14· ·happened in that?                                      14· · · · · · ·Go ahead.
  15· · · · A.· ·Which one?                                   15· · · · · · ·THE WITNESS:· As we're trying to get in
  16· · · · Q.· ·All of them.· If there's more than one. I    16· ·the door or...
  17· ·thought there was only one.                            17· ·BY MS. MURPHY:
  18· · · · A.· ·Well, I mean, when you say involved in an    18· · · · Q.· ·Well, at any time.
  19· ·incident, are you talking about deploying one --       19· · · · A.· ·Before we see it?· Because if we see it, I
  20· · · · Q.· ·Yes.                                         20· ·would -- no, no.· Because -- just because there's a
  21· · · · A.· ·-- on a barricade or --                      21· ·brass wrap on the door doesn't mean that they're --
  22· · · · Q.· ·No, I'm talking -- my understanding was      22· ·we're going to make a tactical call at that point.
  23· ·that there was one where a lady was standing behind    23· ·Because it could still be defeated, right?· It's not
  24· ·the door, correct?                                     24· ·a -- it's not one of those things that's going to
  25· · · · A.· ·Yes.                                         25· ·greatly affect anything at the end of the day.· Like

                                                       111                                                         113
  ·1· · · · Q.· ·Okay.· Can you kind of walk me through       ·1· ·if that's something I said -- like I said before, if
  ·2· ·that?                                                  ·2· ·we -- something that was missed or, you know,
  ·3· · · · A.· ·So, I wasn't one of the -- even though I     ·3· ·something unexpected that we come across, we'll kind
  ·4· ·am one of the breachers on the team, or my team, the   ·4· ·of just work through it at that point.· So it's not
  ·5· ·red team, I wasn't one of the breachers assigned to    ·5· ·something we would call tactical for.
  ·6· ·that specific role that day.· I was just one of the    ·6· · · · Q.· ·And --
  ·7· ·entry officers.                                        ·7· · · · A.· ·In my opinion.
  ·8· · · · · · ·So, I know in that situation, we had         ·8· · · · Q.· ·And I'm asking for your opinion.
  ·9· ·elected to use an explosive breach on the door.· And   ·9· · · · A.· ·Yeah.
  10· ·when they went to deploy explosive breach, the         10· · · · Q.· ·And so once, though, that there's these
  11· ·female was looking through the peephole of the door    11· ·multiple hits on the door and the door is not giving
  12· ·as it went off.· So...                                 12· ·way, in your opinion, do you think a tactical ought
  13· · · · Q.· ·Did that result in a lawsuit?                13· ·to have been called then?
  14· · · · A.· ·It did.                                      14· · · · A.· ·So that also would involve a conversation
  15· · · · Q.· ·And there was a -- was there -- there was    15· ·with the breach team, kind of what they would have
  16· ·a change in policy after that incident, too,           16· ·decided.· I know typically, when I was involved in
  17· ·correct?                                               17· ·that, or part of the ram or something, we would say,
  18· · · · A.· ·Yes.                                         18· ·hey, we're going to hit it four times.· On the
  19· · · · Q.· ·Okay.· And was part of that change in        19· ·fourth time, if I don't get it, I'm going to move
  20· ·policy meant that you couldn't -- as it was served     20· ·out of the way.
  21· ·on October 10, 2022, you couldn't have used an         21· · · · · · ·And then typically -- the plan would
  22· ·explosive breach entry on this type of warrant,        22· ·typically be to step up with a shotgun to shoot the
  23· ·correct?                                               23· ·lock, get the door open, and then at that time enact
  24· · · · A.· ·It -- you could have, but I believe it       24· ·a tactical plan.
  25· ·would require different approval at that point, a      25· · · · · · ·But just because we call tactical doesn't


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  ·1· ·mean we're going to stop -- typically, not trying to   ·1· ·you about your experience being on recon, is that
  ·2· ·open the door.· We want to get the door open first.    ·2· ·you said sometimes the recon will be covert or
  ·3· ·Because that's the entry point for the search          ·3· ·sometimes it will be more overt.
  ·4· ·warrant.                                               ·4· · · · A.· ·Uh-huh.
  ·5· · · · Q.· ·And so I've kind of seen tactical used --    ·5· · · · Q.· ·And I wanted to ask you, why would you
  ·6· ·the term tactical used in kind of some varying ways    ·6· ·want overt recon?· Like, what's the point of making
  ·7· ·throughout all these interviews.                       ·7· ·your presence known?
  ·8· · · · A.· ·Right.                                       ·8· · · · A.· ·Overt?
  ·9· · · · Q.· ·So if you can explain to me what a           ·9· · · · Q.· ·Yeah, you -- I'll -- and I'm not trying to
  10· ·tactical is so I can better understand that.           10· ·trick you, I'm really interested.· And so I'll read
  11· · · · A.· ·Right.· It's not a hard or fast rule, it's   11· ·you the sentence that you wrote.· There's two
  12· ·a judgment call.· So, typically it's designed for      12· ·sentences.· Um, and then we'll coordinate with them,
  13· ·when we, you know, lose that speed or surprise or      13· ·how they want to do the recon.· If it's, you know,
  14· ·you see a subject run off, right?· The door gets       14· ·kind of a little more covert or overt type thing,
  15· ·breached open and you see somebody run down the        15· ·you know, if they want us to use their vehicles or
  16· ·hallway into another bedroom or something.· Or we      16· ·want us to use our vehicles.
  17· ·run out of sufficient manpower.· So, like, a larger    17· · · · A.· ·Oh.· So in that -- in that case, I meant,
  18· ·structure where, you know, there's still rooms that    18· ·like, the investigative unit, if they wanted us to
  19· ·need to be cleared but everybody else is already --    19· ·use their vehicles, they're typically covert
  20· ·we just ran out of officers to put in those rooms.     20· ·vehicles.· I mean, you don't really -- you would
  21· ·And then you would -- then you would call it.· Such    21· ·normally look at it and be, like, this is not a
  22· ·as calling out for more people.                        22· ·police car, right?· So SWAT, I have a Ford F350
  23· · · · Q.· ·Okay.· And, so, prior to your deposition     23· ·truck, four-door truck, that has visible -- not
  24· ·here today, my understanding of a tactical was that    24· ·red -- not red and blue lights, but little light
  25· ·if a tactical is called, everyone kind of pulls        25· ·bars on it all over it.· Most people know, and

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  ·1· ·back, and then this would have then converted to a     ·1· ·especially in some of the certain areas of the city,
  ·2· ·Surround and Callout.· So as you're explaining to      ·2· ·they know that that truck is associated with the
  ·3· ·me, that's actually not accurate; is that correct?     ·3· ·SWAT team.· So that's what I meant in that case.
  ·4· · · · A.· ·So, in this case, if we called tactical      ·4· · · · · · ·And then as far as the covert part goes,
  ·5· ·outside -- the plans were -- the breach plans were     ·5· ·the detectives will usually tell us, like, hey,
  ·6· ·still supposed to be enacted.· But once those          ·6· ·we'll take our car, okay?· We don't want to -- we
  ·7· ·happened, then we would -- we would stop.· We          ·7· ·don't want to alert them to our presence.· Whereas
  ·8· ·wouldn't push the entry.· Tactical call is -- it's     ·8· ·an overt one may be, okay, we're just going to drive
  ·9· ·not a pull back type thing, it's more a, hey, let's    ·9· ·through the neighborhood, right?· It's a house or a
  10· ·stop, assess what we have.· But at that time when      10· ·business or something like that.· So that's what I
  11· ·you stop, you know, you just want to be out in the     11· ·meant when I made that statement.
  12· ·open, you want to move to a position of advantage,     12· · · · Q.· ·Okay.· And then one of the other things
  13· ·right?· So you can see something until you determine   13· ·you said is that -- and this is what your sentence
  14· ·why that call was made and who made it and for what,   14· ·said.· When they asked you about getting assigned
  15· ·you know.· So...                                       15· ·the recon.
  16· · · · Q.· ·So I -- I am really trying to understand.    16· · · · A.· ·Okay.
  17· ·So my understanding of calling the tactical was        17· · · · Q.· ·You said, um, and then from there, two
  18· ·that, yeah, that they would stop trying to do the      18· ·guys will get assigned the recon.· Actually, it's
  19· ·breach, too.· But if I understand how you're           19· ·three now.· Why did it go from two to three?
  20· ·explaining it to me right now, they would have still   20· · · · A.· ·So, I think at that point in time, they
  21· ·breached through the door, but then pulled back to a   21· ·decided to use three -- I know we had some newer
  22· ·tactical advantage area.                               22· ·officers come up.· And then -- I just -- I believe
  23· · · · A.· ·Right, yes, yes.                             23· ·it was just an operational change based off of how
  24· · · · Q.· ·All right.· And then one of the things you   24· ·the recon's conducted.· Because of the -- the
  25· ·talked about in your CIRT interview when they asked    25· ·Assistant Team Leader is -- they're the ones


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  ·1· ·formulating the plan.· And them and the team leader    ·1· · · · Q.· ·Okay.· And to your knowledge, did your
  ·2· ·are approving the plan more or less, or finalizing     ·2· ·three rounds hit him?
  ·3· ·the plan.· So they talked about including the two      ·3· · · · A.· ·From where I was standing at, I believe
  ·4· ·officers with the Assistant Team Leader.· Because      ·4· ·so, yes.
  ·5· ·they're -- they're going to formulate the plan, so     ·5· · · · Q.· ·Okay.· And you talked in your CIRT
  ·6· ·why don't they go, too.                                ·6· ·interview about your experience with people
  ·7· · · · Q.· ·And so you use the term Assistant Team       ·7· ·encountering the stun stick.· And I'll read you your
  ·8· ·Leader, and I see ATL all over this stuff.· Even       ·8· ·statement on that.· And you said, I've just seen it
  ·9· ·though they're called assistant, that's actually the   ·9· ·so many times where people that encounter the stun
  10· ·guy running the show, correct?                         10· ·stick just drop to the ground immediately.· So, same
  11· · · · A.· ·More or less, yes.                           11· ·with the distracts outside.· I'm going to ask you in
  12· · · · Q.· ·Okay.· Is the team leader, like -- that's    12· ·your opinion, based on your experience as a SWAT
  13· ·kind of like a sergeant, like, they oversee --         13· ·officer, why do they drop to the ground?
  14· · · · A.· ·Correct, yes.                                14· · · · A.· ·It's a very loud explosion.· I mean, it's
  15· · · · Q.· ·Okay.· So you're, like, a team leader now.   15· ·light, flash, sound.· Most people when they hear
  16· · · · A.· ·Yes, yeah.                                   16· ·that stuff, they drop to the ground because they
  17· · · · Q.· ·All right.· And so one of the things that    17· ·don't know if something is exploding over them or --
  18· ·you said in your CIRT interview was, the purpose of    18· ·you know, they don't -- they really don't know
  19· ·that recon is for SWAT to be able in the most safe     19· ·what's happening.
  20· ·way, serve that search warrant.· And my question       20· · · · Q.· ·Right.· They don't know what's happening,
  21· ·about that statement is, do you believe that the       21· ·correct?
  22· ·recon in this case that was collected enabled you,     22· · · · A.· ·It's creating a distraction.
  23· ·as a member of the SWAT team, to serve that search     23· · · · Q.· ·Right.· And so they don't know if they're
  24· ·warrant in the most safe way?                          24· ·being shot at, either, correct?
  25· · · · A.· ·Yes.                                         25· · · · A.· ·It doesn't sound like a gunshot, so I

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  ·1· · · · Q.· ·And so you said -- you talked about the      ·1· ·would assume they don't -- would not --
  ·2· ·stun stick, too.· You talked about the shotgun         ·2· · · · Q.· ·Well, I'm asking --
  ·3· ·primer.· Does it sound like a shotgun going off?       ·3· · · · A.· ·-- think they would be shot at.
  ·4· · · · A.· ·No, it's just -- just the primer.            ·4· · · · Q.· ·Right.· But you're saying that your
  ·5· · · · Q.· ·What's the difference between the shotgun    ·5· ·experience is that they drop to the ground
  ·6· ·primer and the sound of a shotgun?                     ·6· ·because -- and I'm -- they perceive some type of
  ·7· · · · A.· ·So, the shotgun primer is just igniting a    ·7· ·danger, correct?
  ·8· ·little bit of powder.· And the primer -- an actual     ·8· · · · A.· ·Correct.
  ·9· ·shotgun round is igniting the primer and all the       ·9· · · · Q.· ·Okay.· And then you also said in your CIRT
  10· ·powder in there, depending on what type of round it    10· ·interview -- I'll read the sentence to you and then
  11· ·is.· So it's significantly louder.                     11· ·I want to ask you about it.· And then that -- that
  12· · · · Q.· ·Okay.· And are you aware of that based on    12· ·also creates surprise on the suspects, uh, and as
  13· ·your years of experience shooting as a police          13· ·well, you know, when the front door gets blown open
  14· ·officer?                                               14· ·or gets knocked down, um, they're usually focused on
  15· · · · A.· ·Yes.                                         15· ·that and what -- trying to process what's happening.
  16· · · · Q.· ·Okay.· And it was -- was it -- based on      16· ·And so my question to you is, is it your experience
  17· ·your testimony, my understanding is, is that it        17· ·as a SWAT officer regularly serving warrants that
  18· ·was -- you stopped shooting because you perceived      18· ·people have trouble processing what's happening?
  19· ·the witness as being -- or sorry, Mr. Williams as      19· · · · A.· ·I wouldn't say they have trouble
  20· ·being deceased, correct?                               20· ·processing what's happening.· I would say that
  21· · · · A.· ·Correct.                                     21· ·they -- they may not know what's happening, it's not
  22· · · · Q.· ·Okay.· But to confirm, you shot three        22· ·that they're not processing it.· It's just their
  23· ·times before you made the assessment that he was       23· ·reaction, whatever it is, is to that stimulus.· You
  24· ·likely deceased, correct?                              24· ·know, whether they're going to kind of hold fight or
  25· · · · A.· ·After I -- yes.· Yeah.                       25· ·flight type thing.


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  ·1· · · · Q.· ·Right.· So they don't know what's            ·1· ·the -- the timing, right, of the search warrant.· So
  ·2· ·happening.                                             ·2· ·those type of factors, yeah.
  ·3· · · · A.· ·I -- I guess you could say that.· I mean,    ·3· · · · Q.· ·Okay.· And -- sorry.· When you say timing
  ·4· ·they know that -- they know that there's something     ·4· ·of the search warrant, do you mean you would have
  ·5· ·going on.                                              ·5· ·served it at a different time or what do you mean --
  ·6· · · · Q.· ·Right.                                       ·6· ·or how long -- what do you mean by timing?· Sorry, I
  ·7· · · · A.· ·They're just not 100 probably percent what   ·7· ·just want to make sure I understand what you mean.
  ·8· ·it is.· I mean -- and it's hard to tell.· If they      ·8· · · · A.· ·The whole -- when I say that, I'm talking
  ·9· ·heard, hey, the police, right, or police search        ·9· ·about the debate of the no knock, the knock and
  10· ·warrant and then they hear an explosion, they are      10· ·announce, the reasonableness time, that.· Because
  11· ·probably going to drop -- they'll most likely drop     11· ·that is a common thing that typically -- that
  12· ·to the ground.· At least that's my experience in all   12· ·typically comes up, right?· We talk about it all the
  13· ·the search warrants that I've served.                  13· ·time, we try to train for it and mitigate it, and,
  14· · · · Q.· ·Okay.· But the purpose of doing these        14· ·you know, determine, hey, what's in a -- what's a
  15· ·distracts is to stun them and surprise them and        15· ·reasonable amount of time?· How long do we think
  16· ·disorient them, correct?                               16· ·that it's going to take?· And, like, in this
  17· · · · A.· ·Yes, uh-huh.                                 17· ·instance, the suspect to arm themselves and to shoot
  18· · · · Q.· ·Okay.· And I asked you before and I'll ask   18· ·at us.· Or just to give up.· Or move to another
  19· ·you again, don't you think that that contradicts the   19· ·position or better position.· All those different
  20· ·whole concept of knock and announce?                   20· ·factors, looking at all those.
  21· · · · A.· ·No.                                          21· · · · Q.· ·Okay.· And so as we sit here today, then,
  22· · · · Q.· ·Okay.                                        22· ·are -- and I want to make sure that I understand
  23· · · · A.· ·No.                                          23· ·your testimony correctly.· As we're sitting here
  24· · · · Q.· ·And I know I -- I kind of asked you in a     24· ·today and you've just gone over this, have you,
  25· ·roundabout way earlier, and I'm going to -- but I'm    25· ·then, gone back and forth about whether or not the

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  ·1· ·going to ask you in a more straightforward way this    ·1· ·announcement was an appropriate amount of time?
  ·2· ·time.· Looking back on this incident, is there         ·2· · · · A.· ·I believe that it was appropriate, yes.
  ·3· ·anything that you would have done differently?         ·3· · · · Q.· ·Okay.· And -- but you said that there's
  ·4· ·Looking at the whole team, is there anything that      ·4· ·been debate about it; is that accurate?
  ·5· ·you would have said, hey, either I personally would    ·5· · · · A.· ·Yes.
  ·6· ·have done differently or I think this should have      ·6· · · · Q.· ·Between whom?
  ·7· ·been done differently on the team?                     ·7· · · · A.· ·I mean, it's -- you hear it on the news,
  ·8· · · · · · ·MR. ANDERSON:· Objection, form.              ·8· ·you talk -- we talk about it amongst our team
  ·9· · · · · · ·THE WITNESS:· Yeah, I mean, there's so       ·9· ·members.· You know, within our own agency.· When
  10· ·many factors to look at.· I mean, you're -- just the   10· ·they talk about policy changes.· I mean, we -- it's
  11· ·nature of our job is we're just critical of -- of      11· ·a fairly -- something that's brought up --
  12· ·everything.· Critical of yourself, of your             12· · · · Q.· ·Okay.
  13· ·teammates, the planning process.· I mean, that's how   13· · · · A.· ·-- and talked about.
  14· ·you learn and get better, is to take that critical     14· · · · Q.· ·And my understanding -- we've talked about
  15· ·look and analyzing everything.· So, yeah, there        15· ·it a lot in this deposition, so thank you for
  16· ·would be -- definitely be things that --               16· ·bearing with me.· But my understanding, you know,
  17· ·BY MS. MURPHY:                                         17· ·and we talked about it, like I said, quite a few
  18· · · · Q.· ·Can you walk -- can you walk me through      18· ·times, is that on January 10, 2022, the position and
  19· ·what things you think could be improved or on what     19· ·how you guys operated, it was that, hey, it's not
  20· ·things you would have done differently?                20· ·really in a reasonable amount of time you have to
  21· · · · A.· ·In this specific instance, I mean,           21· ·get off two -- it's not the time, the actual
  22· ·obviously we brought -- we talked about it was the     22· ·timeline, but kind of the standard operating
  23· ·brass wrap, right?· Whether tactical -- the tactical   23· ·procedure was, you need to get off a certain number
  24· ·call, the deciding factors, that was a lot of stuff    24· ·of announcements, correct?
  25· ·that was also talked about after.· You know, there's   25· · · · A.· ·So, the number of announcements were,


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  ·1· ·enacting the another plans, so, yes, in a sense.       ·1· ·BY MS. MURPHY:
  ·2· ·But if you're asking what, like, the total overall     ·2· · · · Q.· ·And if the -- just to let the record
  ·3· ·announcements would be, it's more than two.· Because   ·3· ·reflect, we took a break and we watched what is your
  ·4· ·every word -- everybody's typically yelling police,    ·4· ·body-worn camera footage.· And the -- we watched the
  ·5· ·search warrant, when the first one starts.             ·5· ·entirety of the video, which is approximately --
  ·6· · · · Q.· ·But here it wasn't more than two, correct?   ·6· ·well, it's not approximately, it's 20 minutes and 51
  ·7· · · · A.· ·More than two for?                           ·7· ·seconds long.
  ·8· · · · Q.· ·There was two announcements and then the     ·8· · · · A.· ·Yes.
  ·9· ·door was breached, correct?                            ·9· · · · Q.· ·And you confirm that this is your
  10· · · · A.· ·Right.· But also, during that time, police   10· ·body-worn camera footage, and this is what you
  11· ·are -- officers are still yelling, police, search      11· ·remember from the date of the incident, correct?
  12· ·warrant.                                               12· · · · A.· ·Correct.
  13· · · · Q.· ·Do you think it's a reasonable expectation   13· · · · Q.· ·Okay.· And so I wanted to ask you a couple
  14· ·that somebody who's inside a small unit full of        14· ·questions about some -- some of the dialogue and
  15· ·smoke and having nine bangers and a stun stick go      15· ·some of the things that we saw on the body-worn --
  16· ·off would continue to be able to assess and            16· ·the BWC.
  17· ·understand announcements that are being made?          17· · · · A.· ·Yes.
  18· · · · · · ·MR. ANDERSON:· Objection, form.              18· · · · Q.· ·Okay.
  19· · · · · · ·Go ahead.                                    19· · · · · · ·THE VIDEOGRAPHER:· I'm sorry, can you
  20· · · · · · ·THE WITNESS:· Yes.                           20· ·slide your mike up just a little bit, just because
  21· ·BY MS. MURPHY:                                         21· ·your arms are hitting it.· Thank you.
  22· · · · Q.· ·Okay.· So even though you testified          22· · · · · · ·THE WITNESS:· Yeah.
  23· ·earlier than the intent is to distract somebody, to    23· · · · · · ·THE VIDEOGRAPHER:· Thanks.
  24· ·surprise them, to overwhelm them, you think that       24· ·BY MS. MURPHY:
  25· ·they would still have the mental capacity to be able   25· · · · Q.· ·The majority of the BWC is really you and

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  ·1· ·to understand announcements that are being made?       ·1· ·Bertuccini driving to the...
  ·2· · · · A.· ·Off of my experience, yes.                   ·2· · · · A.· ·Incident.
  ·3· · · · Q.· ·Okay.· But you said that people would drop   ·3· · · · Q.· ·Yeah, the incident.· And so there's a
  ·4· ·to the ground.· Why do you think they drop to the      ·4· ·little bit of dialogue between you and Bertuccini
  ·5· ·ground?                                                ·5· ·that I wanted to ask you about.
  ·6· · · · A.· ·I mean, when I say drop to the ground, I     ·6· · · · A.· ·Okay.
  ·7· ·mean, I guess I could be more specific in that case.   ·7· · · · Q.· ·Just give me one second and I'll pull it
  ·8· ·It's not like they're just falling to the ground and   ·8· ·up.
  ·9· ·laying out with their hands behind their back. I       ·9· · · · · · ·I'm going to start at about six minutes
  10· ·mean, they're also ducking and diving, right?          10· ·and 20 -- and 15 seconds.· Sorry.
  11· · · · Q.· ·They're taking cover, correct?               11· · · · A.· ·Okay.
  12· · · · A.· ·Right.· They're moving, you know.· They're   12· · · · · · · · · · · ·(Video played.)
  13· ·maybe laying down on a couch or moving from a seated   13· ·BY MS. MURPHY:
  14· ·position to a laying down position, right?· They're    14· · · · Q.· ·Yeah.· And so I wanted to -- when you --
  15· ·typically ducking.                                     15· ·when you're talking about Back, are you talking
  16· · · · Q.· ·Yeah.· They're taking cover, correct?        16· ·about -- are you talking about Backman, Sergeant
  17· · · · A.· ·More or less.                                17· ·Backman?
  18· · · · Q.· ·Okay.· All right.· Let's -- let's go off     18· · · · A.· ·So we're talking about actually all the
  19· ·the record for just a second.· I'm going to set up     19· ·sergeants.
  20· ·the video.                                             20· · · · Q.· ·Okay.
  21· · · · · · ·THE VIDEOGRAPHER:· We are going off record   21· · · · A.· ·Yeah.· But I know in that case, Sergeant
  22· ·at 12:38 p.m.                                          22· ·Backman, he was newer to the unit, so he was trying
  23· · · · · · · · · · · ·(Off record.)                      23· ·to gain experience.
  24· · · · · · ·THE VIDEOGRAPHER:· We are back on record     24· · · · Q.· ·And if I heard correctly, I think it was
  25· ·at 1:08 p.m.                                           25· ·you that said, why are you running this?· You were


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  ·1· ·talking about Sergeant Backman, correct?               ·1· ·service like this?
  ·2· · · · A.· ·Yes.                                         ·2· · · · A.· ·This one is a pretty standard one. I
  ·3· · · · Q.· ·And why were you questioning Sergeant        ·3· ·would say yes, up until we encountered the shooting.
  ·4· ·Backman's ability to run this?                         ·4· · · · Q.· ·Right.· You had to go through a full SWAT
  ·5· · · · A.· ·I wasn't questioning his ability, I was      ·5· ·school.· You didn't get a condensed version, did
  ·6· ·just questioning why he was doing it.· I knew he was   ·6· ·you?
  ·7· ·in training.· And I'm trying to remember if at the     ·7· · · · A.· ·No.
  ·8· ·time -- because this was a blue -- well, silver team   ·8· · · · Q.· ·Okay.
  ·9· ·search warrant.· At the time blue team, old blue       ·9· · · · · · ·MR. ANDERSON:· That's a double negative.
  10· ·team.· I believe he was assigned to our team.          10· ·No, you didn't have to go through?· Yes --
  11· · · · · · ·So typically, the team who's running the     11· ·BY MR. MURPHY:
  12· ·search warrant, or the day that they're working,       12· · · · Q.· ·Correct.· Sorry, let me ask it in two
  13· ·their sergeant will run the search warrant.· But I     13· ·ways.
  14· ·believe, if I remember correctly in this case,         14· · · · · · ·You went through full SWAT school,
  15· ·Backman was on our team, but he was running the        15· ·correct?
  16· ·search warrant, which is not very common.              16· · · · A.· ·I went through it a couple times,
  17· · · · · · ·So -- and the fact that there were three     17· ·actually, yeah.
  18· ·sergeants there as well, which typically there never   18· · · · Q.· ·You didn't get a condensed version,
  19· ·is.· There's usually only two.· And when I said Back   19· ·correct?
  20· ·does that all the time, he'll get the notification     20· · · · A.· ·No, I did not.
  21· ·because he's a sergeant, right, he's in the            21· · · · Q.· ·All right.· And then -- if a sergeant
  22· ·leadership texts that they have going, he'll get the   22· ·shows -- are the sergeants also paid kind of by
  23· ·notification and he'll just show up.· Which he can,    23· ·hour, so if they show up for extra SWAT warrants, do
  24· ·because he's a supervisor.· But it's, like, you        24· ·they get paid more?
  25· ·know, if one of the officers did that, they'd be,      25· · · · A.· ·Yes.

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  ·1· ·like, what are you doing here, you know?· So that's    ·1· · · · Q.· ·Okay.
  ·2· ·why we were talking about it in that instance.         ·2· · · · A.· ·The standard call-out pay, four-hour
  ·3· · · · Q.· ·And did it -- and I took away from that,     ·3· ·minimum.
  ·4· ·too, and you just mentioned it earlier, that he also   ·4· · · · Q.· ·Okay.· And then I'm going to go right
  ·5· ·was in training, right?· So why is he running this     ·5· ·before the incident.· Hold on.· I'm just going to --
  ·6· ·operation?· You were aware that he hadn't finished     ·6· · · · · · · · · · · ·(Video played.)
  ·7· ·SWAT school, right, or that he was still in            ·7· ·BY MS. MURPHY:
  ·8· ·training?                                              ·8· · · · Q.· ·I didn't go back quite far enough, sorry.
  ·9· · · · A.· ·Yeah.· So I knew they hadn't run him         ·9· · · · · · · · · · · ·(Video played.)
  10· ·through a -- because -- yeah.· Because the time he     10· ·BY MS. MURPHY:
  11· ·came up, he didn't go through an official SWAT         11· · · · Q.· ·That's okay.· I have to make sure I'm
  12· ·school.· They were doing more of a -- like a           12· ·preserving the record.
  13· ·condensed training type thing.· I can't remember how   13· · · · · · ·And so as those announcements were played
  14· ·long he had been in SWAT prior to that.· If he was     14· ·from your vantage point, could you hear both the
  15· ·still in training.                                     15· ·announcements clearly or were they muffled?
  16· · · · · · ·So, I mean, a lot of it's on-the-job         16· · · · A.· ·I could here them clearly.
  17· ·training.· But I just -- I questioned that, like,      17· · · · Q.· ·You could hear both announcements clearly.
  18· ·okay -- or I was questioning why they were there.      18· · · · A.· ·Uh-huh.
  19· ·And then I was, like, oh, it's because Backman's in    19· · · · Q.· ·Let's play that again.
  20· ·training, like, that's why -- that's why he's doing    20· · · · · · · · · · · ·(Video played.)
  21· ·it, you know.                                          21· ·BY MS. MURPHY:
  22· · · · Q.· ·Okay, all right.                             22· · · · Q.· ·Could you hear -- is it your testimony
  23· · · · A.· ·Getting the experience.                      23· ·that we've just reviewed this, and you could
  24· · · · Q.· ·Do you think it's appropriate for somebody   24· ·distinctly hear the words clearly in both
  25· ·who's in training to run a SWAT search warrant         25· ·announcements, or could you hear basically the first


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  ·1· ·announcement clearly and the second announcement       ·1· ·had already been started for the distract.· It was
  ·2· ·you -- it was muffled?                                 ·2· ·just waiting for it to go.· Because I said pull,
  ·3· · · · A.· ·I could hear the first one saying, police,   ·3· ·pull, pull.· By the time I said that it was going
  ·4· ·search warrant, and I could hear the second one. I     ·4· ·off.· So I was maybe jumping the gun a little bit on
  ·5· ·could hear the, police, search warrant.· Which would   ·5· ·that, too.
  ·6· ·be the cue to insert the stun stick and start the      ·6· · · · Q.· ·Okay.
  ·7· ·plan.                                                  ·7· · · · A.· ·That's --
  ·8· · · · Q.· ·Okay.· So the -- and I want to make -- so    ·8· · · · Q.· ·That's actually the only stuff I wanted --
  ·9· ·that was standard operating procedure, that went the   ·9· ·and then -- I don't think we -- you remember as we
  10· ·way it was supposed to?                                10· ·watched this, you -- well, you already testified
  11· · · · A.· ·Yes.                                         11· ·about it, that as the video goes on, you talk about
  12· · · · Q.· ·You were the first -- sorry.                 12· ·the confusion -- you even experienced confusion
  13· · · · A.· ·Yes.                                         13· ·between the nine banger and the shots, correct?
  14· · · · Q.· ·Yes.· So it was, police officer, search      14· · · · A.· ·Right.· So initially, the other guys kind
  15· ·warrant, and then when you heard the second police     15· ·of behind us, further -- a little bit further down
  16· ·officer, which you're saying you heard clearly, that   16· ·by the patio, where they had tossed it.· So they
  17· ·was time to go, for lack of a better term, correct?    17· ·tossed it pretty -- kind of close to us, which is
  18· · · · A.· ·Yes.                                         18· ·okay.· But it kind of caught me off guard.· Because
  19· · · · Q.· ·Okay.· And then if you want to hit --        19· ·we wear the electronic ear -- ear protection.· So it
  20· ·sorry.· If you can hit play, we'll just go a few       20· ·just -- it's designed to muffle those loud crack
  21· ·seconds up from that.                                  21· ·noises, like gunshots.· So even the distracts.· So
  22· · · · A.· ·Okay.                                        22· ·when you hear that, it's really hard -- if I heard
  23· · · · · · · · · · · ·(Video played.)                    23· ·it with just my regular -- you know, without any --
  24· ·BY MS. MURPHY:                                         24· ·without that on I could tell.
  25· · · · Q.· ·Okay.· As we sit here today and you're       25· · · · · · ·But with those on, it's hard to kind of

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  ·1· ·listening to this, are -- is it your position that     ·1· ·tell at first what -- where it's coming from.
  ·2· ·the noise between the nine banger and the gunfire      ·2· ·Especially when they -- I'm outside and they
  ·3· ·are easily distinguishable, or do they sound           ·3· ·deployed it outside with me right there.· So had I
  ·4· ·similar?                                               ·4· ·been inside when they deployed it, I -- would have
  ·5· · · · A.· ·So, at the time -- I mean, listening to      ·5· ·been a lot easier to tell.
  ·6· ·it, it's -- it's more clear.· But at the time it was   ·6· · · · Q.· ·But that's also from your vantage point of
  ·7· ·hard -- it's a little bit harder to tell, actually.    ·7· ·being an officer for 13 years and having been at gun
  ·8· · · · Q.· ·And just to understand -- and it's a         ·8· ·ranges for 13-plus years as well, correct?· You're
  ·9· ·little difficult to see -- I don't think you were      ·9· ·not a civilian.
  10· ·trying to modify the record in any way, but it is a    10· · · · A.· ·Correct, yeah.
  11· ·little bit difficult to tell exactly what your         11· · · · Q.· ·And I want to -- I want to -- we're done
  12· ·vantage point is.· Because what we see is right --     12· ·with the video.· Sorry, I'm not -- yeah, you can
  13· ·the top of the shield kind of cuts off half of that.   13· ·close it.· Thank you, yeah.
  14· · · · A.· ·Right.                                       14· · · · · · ·I want to read you one of the standard --
  15· · · · Q.· ·But is it -- you tell me if I'm right or     15· ·thank you, thank you, very much, James.· I want to
  16· ·wrong.· My understanding is that he had broken the     16· ·read you one of the standards for knock and
  17· ·window, and then you were yelling pull, pull, pull,    17· ·announce.· And this comes from a United States
  18· ·right?                                                 18· ·Supreme Court case.· If, after notice of his
  19· · · · A.· ·Yes.                                         19· ·authority and purpose, an officer is refused
  20· · · · Q.· ·Okay.· So from Mr. Williams' vantage point   20· ·admittance, then the Supreme Court goes on to say
  21· ·inside, a window is broken, and then he hears pull,    21· ·it's okay to breach the door.
  22· ·pull, pull, and then it starts -- the distraction      22· · · · · · ·Having watched this video, can you tell me
  23· ·devices start, correct?                                23· ·at any point in time where Mr. Williams refused you
  24· · · · A.· ·Correct.· Or the -- probably in this case,   24· ·or anyone on that team admittance into the
  25· ·listening to it or watching it, is the -- the train    25· ·apartment?· Before the breach.


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  ·1· · · · A.· ·What was the --                              ·1· ·conclusions that was made, and I want to ask your
  ·2· · · · Q.· ·No problem.                                  ·2· ·opinion on it.
  ·3· · · · A.· ·-- the court case again?· What did the       ·3· · · · A.· ·Uh-huh.
  ·4· ·Supreme Court say?                                     ·4· · · · Q.· ·By conducting a CET to surprise and
  ·5· · · · Q.· ·That if, after notice of his authority and   ·5· ·overwhelm the occupants of the structure, it
  ·6· ·purpose, an officer is refused admittance.             ·6· ·inherently contradicts the knock and announce rule
  ·7· · · · A.· ·Okay.                                        ·7· ·which require officers to wait a reasonable amount
  ·8· · · · Q.· ·What did Mr. Williams do to refuse you or    ·8· ·of time set forth by United States Supreme Court
  ·9· ·anyone on your team admittance prior to the breach?    ·9· ·case law and the Nevada Revised Statutes.· Do you
  10· · · · A.· ·Having the door closed and locked?· Is       10· ·agree or disagree with that conclusion?
  11· ·that what we're talking about?· Or giving him the      11· · · · A.· ·The reasonable -- what is the reasonable
  12· ·time to answer the door?                               12· ·amount of time?
  13· · · · Q.· ·Well, the Supreme Court says that he gets    13· · · · Q.· ·No, sorry.· Let me read it one more time.
  14· ·time to answer the door, or time to indicate that      14· · · · A.· ·Yeah, sorry.· I missed the first part.
  15· ·he's going to refuse you admittance.· So was there     15· · · · Q.· ·No, no, no.· By conducting a CET --
  16· ·any indication that Mr. Williams was going to --       16· · · · A.· ·Okay.
  17· ·before entry through the door, was there any           17· · · · Q.· ·-- to surprise and overwhelm the occupants
  18· ·indication that Mr. Williams would have refused you    18· ·of the structure, it inherently contradicts the
  19· ·admittance?                                            19· ·knock and announce rule, which requires officers to
  20· · · · A.· ·Not up until that point, no.                 20· ·wait a reasonable amount of time set forth by the
  21· · · · Q.· ·Okay.· And there's also a Supreme Court      21· ·United States Supreme Court case law and the Nevada
  22· ·case that says that the Supreme Court has held that    22· ·Revised Statutes.· Is it -- do you agree or disagree
  23· ·a 15- to 20-second wait after police officers          23· ·that by conducting a CET to surprise and overwhelm,
  24· ·announce their presence was reasonable under the       24· ·that contradicts the knock and announce rule?
  25· ·Fourth Amendment and Section 3109.                     25· · · · A.· ·Yeah, I would say I don't agree with that.

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  ·1· · · · · · ·As we sit here today, what we've discussed   ·1· ·Because it's a knock and announce.· You're just
  ·2· ·before was that your understanding of knock and        ·2· ·announcing your presence, more or less.· Whether
  ·3· ·announce was that it had to be -- or it should have    ·3· ·it's six seconds or 20 seconds.· The main question
  ·4· ·been two or three announcements before the breach      ·4· ·is, what's reasonable to get to the door and open
  ·5· ·was made, correct?                                     ·5· ·the door, and how fast can you do that?
  ·6· · · · A.· ·Yes.                                         ·6· · · · Q.· ·Okay.· And so is the purpose, then, of
  ·7· · · · Q.· ·Okay.· And that is irrespective of the       ·7· ·giving the announcements to just rattle them off and
  ·8· ·amount of time -- the amount of seconds that passes,   ·8· ·get through the door as quickly as possible?
  ·9· ·correct?                                               ·9· · · · A.· ·I wouldn't say rattle them off.· I mean,
  10· · · · A.· ·I would say it's about that time, but,       10· ·you know, the goal is, the point is, to make them
  11· ·yes.                                                   11· ·loud and clear that it's the police and we're there
  12· · · · Q.· ·Well, in this case, there was one and a      12· ·to serve a search warrant.
  13· ·half or two announcements, and six seconds went by.    13· · · · Q.· ·Okay.
  14· · · · A.· ·Okay, yeah.                                  14· · · · A.· ·Yeah.
  15· · · · Q.· ·So that's clearly not 15 to 20 seconds,      15· · · · Q.· ·Do you think somebody that's sleeping
  16· ·correct?                                               16· ·inside an apartment that they don't normally live at
  17· · · · A.· ·Well, I would say that's from when the       17· ·can automatically assess within seconds what kind of
  18· ·window was breached.· But that wasn't our entry        18· ·announcement is being made?
  19· ·point; the front door was.                             19· · · · A.· ·Off of my previous experience, yes.
  20· · · · Q.· ·I will -- I will represent to you that       20· · · · Q.· ·Okay.· And that's part of your experience
  21· ·even the -- own internal investigation found there     21· ·of serving these and your understanding of what the
  22· ·was six seconds between the beginning of the           22· ·policies and procedures for LVMPD are?
  23· ·announcement and the breach of the door.               23· · · · A.· ·Correct.
  24· · · · A.· ·Okay.· All right.                            24· · · · Q.· ·Okay.· And that you under- -- do you
  25· · · · Q.· ·Okay?· I want to read you one of the         25· ·understand that both the Nevada Supreme Court, the


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  ·1· ·Nevada Revised Statute, and the United States          ·1· ·deployment of distracts.· You know, and then several
  ·2· ·Supreme Court disagrees that six seconds is a          ·2· ·changes from the actual department, right, of
  ·3· ·sufficient amount of time?                             ·3· ·policy -- department policy.
  ·4· · · · A.· ·Yes, okay.                                   ·4· · · · Q.· ·And so -- thank you for that very detailed
  ·5· · · · Q.· ·Okay.· You'll take my word for it, is        ·5· ·answer.· And I wanted to be a little bit more
  ·6· ·that --                                                ·6· ·specific, and so let me ask it a little bit better.
  ·7· · · · A.· ·Yeah.                                        ·7· · · · · · ·In terms of you and how you function, have
  ·8· · · · Q.· ·Okay, all right.· I think -- oh, yeah, I     ·8· ·you changed any ways that you function, based on
  ·9· ·just wanted to ask you some follow-up questions        ·9· ·this incident?· And I -- and I don't doubt that
  10· ·about your interrogatories.                            10· ·you've been very critical of yourself.· I'm not
  11· · · · · · ·I just wanted to confirm, one of the         11· ·trying to imply that you weren't.· But I'm asking
  12· ·interrogatory questions asked you to describe any      12· ·for you opinion, have you personally done -- like,
  13· ·retraining, discipline, demotions, or other adverse    13· ·have you modified your practice or anything that
  14· ·employment action taken against you as a result of     14· ·you've done as a result of this incident?
  15· ·this incident.· And your response was none.· Is that   15· · · · A.· ·As of now, no.· I'm no longer on the SWAT
  16· ·correct.                                               16· ·team.
  17· · · · A.· ·Correct.                                     17· · · · Q.· ·Sorry, so let me clean that question up
  18· · · · Q.· ·So that includes not just discipline, but    18· ·even more.
  19· ·there was no retraining, either; is that accurate?     19· · · · · · ·When you were still on the SWAT team, as a
  20· · · · A.· ·As in?                                       20· ·result of this incident, was there anything that you
  21· · · · Q.· ·Was there any --                             21· ·changed how you did?
  22· · · · A.· ·Because of the incident?                     22· · · · A.· ·Yeah, yeah, I did, yeah.
  23· · · · Q.· ·Correct, yes.                                23· · · · Q.· ·What did you change?
  24· · · · A.· ·Retraining?· Personally for me?· No.· But,   24· · · · A.· ·So, this was a good -- good case or, you
  25· ·I mean, we learned from the incident.                  25· ·know, good incident for me.· I've been involved

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  ·1· · · · Q.· ·Okay.· What did you guys -- sorry.· What     ·1· ·in -- I -- probably well over 1,000 search warrants
  ·2· ·did you learn from the incident?                       ·2· ·at that point.· Callouts, shootings, just about
  ·3· · · · A.· ·I mean, again, like I explained earlier,     ·3· ·everything.
  ·4· ·everybody's critiquing themselves, they're             ·4· · · · · · ·And I realized something as -- you know,
  ·5· ·critiquing the incident, what could have been done     ·5· ·this seemed just like a normal, run of the mill
  ·6· ·better, you know, was there -- you know, did we        ·6· ·search warrant.· We've done this hundreds of times
  ·7· ·recognize points of failure?                           ·7· ·at this hour, these locations, similar locations.
  ·8· · · · · · ·Which, I mean, obviously we don't need the   ·8· · · · · · ·But this one was different because we
  ·9· ·CIRT team to point that out, we can look at our own    ·9· ·ended up taking gunfire and had officers shot.· And
  10· ·internal mechanisms and figure it out and look at      10· ·in turn, had to shoot.· And it was the first time
  11· ·ourselves and figure it out.· And that's as simple     11· ·I've had to, you know, discharge my firearm in the
  12· ·as, did I go left when I should have went right, you   12· ·course of, you know, the line of duty, more or less.
  13· ·know?                                                  13· ·So, there's quite a few things to take away from it,
  14· · · · · · ·So, individually, I know a lot of guys       14· ·yeah.
  15· ·will look at that as a tool.· So when you say          15· · · · Q.· ·And so I'm asking you, what did you take
  16· ·retrain, in the -- as a form of, this was messed up,   16· ·away from it?· What did you change while you were
  17· ·or a disciplinary thing or anything like that, no.     17· ·still on SWAT?
  18· ·But we did train in the sense to get better, right?    18· · · · A.· ·Just -- I mean, I think that's a pretty
  19· · · · Q.· ·And so how have you gotten better since      19· ·broad question.· I mean, it's a lot, you know.
  20· ·this incident?                                         20· ·Like, took kind of -- boils down to even my
  21· · · · A.· ·Well, I know they made some policy           21· ·mentality going in there.· Like, hey, let's -- you
  22· ·revisions, right, as a whole.· I know that certain     22· ·know, the heightened state, right?· Like, okay, we
  23· ·calls were -- well, not calls, but certain tactics     23· ·need to treat this as a high level -- we may be
  24· ·were cleaned up, right, as far as breaching of the     24· ·involved in a shooting, people may get shot.· So,
  25· ·door goes.· The use of the tactical call.· You know,   25· ·you know, that's probably one of the highest things,


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  ·1· ·right?                                                 ·1· ·you're, like, oh, I'll never go to court and argue
  ·2· · · · · · ·Not saying that this incident was, you       ·2· ·about what was said on a phone call again.· I'll
  ·3· ·know -- it was a nothing until something actually      ·3· ·always send some kind of confirming e-mail.
  ·4· ·happened, right?· I mean, it was -- we still treated   ·4· · · · · · ·So that's something in kind of our
  ·5· ·it how we would -- how we would normally.· But it      ·5· ·day-to-day practice that we learn as we get, you
  ·6· ·makes you realize, this was a significant incident     ·6· ·know, through incidents and we become more seasoned.
  ·7· ·with significant injuries to people.                   ·7· · · · · · ·So that's an example I could give you.· Do
  ·8· · · · · · ·So, moving forward, you just realize,        ·8· ·you have anything like, in kind of your day-to-day
  ·9· ·like, okay, I'd better take things very serious,       ·9· ·functioning that you modified or changed as a result
  10· ·right?· So -- and that boils down to a laundry list    10· ·of this incident?
  11· ·of stuff.· Your weapons, your firearms, how you        11· · · · A.· ·I wouldn't say my day-to-day functioning,
  12· ·carry things, right?· Preplanning in your head what    12· ·but --
  13· ·you're going to do the next incident this happens.     13· · · · Q.· ·Okay.
  14· ·I mean, there's -- you could make a list of them.      14· · · · A.· ·-- I would say how -- you know, how things
  15· · · · Q.· ·And so let me kind of cut to the chase,      15· ·were done, you know, in that situation.· Like, being
  16· ·and you tell me if I'm right or wrong in my            16· ·a recon officer, right?· Things to look for, stuff
  17· ·understanding.                                         17· ·like that.
  18· · · · · · ·When you talk about that you have changed    18· · · · · · ·But, a lot of the things that happened in
  19· ·as a result of this incident, you're talking about     19· ·this specific incidence have happened before.· So,
  20· ·your frame of mind, how you're approaching them, are   20· ·you know, brass wraps have been missed, right?
  21· ·you taking it seriously -- and I know what you're      21· ·Announcements have been shorter.· Some have been
  22· ·trying to say, and I'm not trying to put you in a      22· ·longer.· So, I would say based off the situation.
  23· ·place.· But you're saying --                           23· ·But for me personally, did I change anything
  24· · · · A.· ·Okay.                                        24· ·different?· I don't -- I don't think so.
  25· · · · Q.· ·-- that probably every one, you're           25· · · · Q.· ·Okay.

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  ·1· ·taking -- not, like, oh, it's -- you're not            ·1· · · · A.· ·Yeah.
  ·2· ·approaching every one, like, oh, this is the           ·2· · · · Q.· ·All right.· And just to confirm, we've
  ·3· ·standard warrant any more.· Is that fair -- is         ·3· ·gone through all -- thank you for sitting through
  ·4· ·that -- when you were on SWAT.                         ·4· ·and going through all this.· We've gone through it
  ·5· · · · A.· ·Right.                                       ·5· ·in so much detail.
  ·6· · · · Q.· ·Okay.· So -- and I appreciate your           ·6· · · · · · ·Just to confirm, although you have come
  ·7· ·detailed explanation of that.                          ·7· ·through it with a different state of mind, as we sit
  ·8· · · · · · ·Setting that issue aside, is there           ·8· ·here today, there's not anything that you would do
  ·9· ·anything in your day-to-day functioning, aside from    ·9· ·differently, correct?
  10· ·you have a different mentality about this, is there    10· · · · A.· ·No.
  11· ·anything in your day-to-day functioning as when you    11· · · · Q.· ·Okay.· I think that's it.
  12· ·were still a SWAT officer that you changed as a        12· · · · · · ·MR. ANDERSON:· I have no questions.
  13· ·result of this incident?· Do you understand the        13· · · · · · ·THE VIDEOGRAPHER:· One moment.
  14· ·distinction I'm getting at?                            14· · · · · · ·MS. MURPHY:· Do we want to do sign and
  15· · · · A.· ·Yeah, I mean, you're -- I mean, day-to-day   15· ·review -- or read and review?· Sorry.
  16· ·function as in --                                      16· · · · · · ·MR. ANDERSON:· You have the opportunity to
  17· · · · Q.· ·So I'll --                                   17· ·read this, make sure everything is accurate, make
  18· · · · A.· ·-- give me an example?                       18· ·sure she doesn't make any mistakes, which she will
  19· · · · Q.· ·I will give you an example of what I --      19· ·not.· Because it's on video, I don't think you need
  20· ·from something that happened as a lawyer, right?       20· ·to.· But if you want the opportunity to read it and
  21· ·And Craig will probably back me up on this.            21· ·make sure everything is okay before it's finalized,
  22· · · · · · ·That we always send confirming letters and   22· ·you can do that.· Do you have a preference?
  23· ·e-mails after a phone call with either a client or     23· · · · · · ·We'll waive.
  24· ·opposing counsel.· You only have that, for lack of a   24· · · · · · ·MS. MURPHY:· Off the record.
  25· ·better -- blow up in your face one time before         25· · · · · · ·THE VIDEOGRAPHER:· This concludes the


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  ·1· ·video-recorded deposition of James Rothenburg taken    ·1· · · · · · · · · REPORTER'S CERTIFICATE
                                                              ·2· ·STATE OF NEVADA· · · )
  ·2· ·on July 17th, 2024.· We're going off the video         · · · · · · · · · · · · · ) ss
  ·3· ·record, and the time is 1:35 p.m.                      ·3· ·COUNTY OF CLARK· · · )
                                                              ·4
  ·4· · · · · · ·MR. ANDERSON:· I will order a copy.          ·5· · · · I, Tracy A. Manning, a duly certified court
  ·5· · · · · · ·(Proceedings concluded at 1:35 p.m.)         · · ·reporter licensed in and for the State of Nevada, do
                                                              ·6· ·hereby certify:
  ·6                                                          ·7· · · · That I reported the taking of the deposition of
  ·7                                                          · · ·the witness, James Rothenburg, at the time and place
                                                              ·8· ·aforesaid;
  ·8                                                          ·9· · · · That prior to being examined, the witness was
  ·9                                                          · · ·by me duly sworn to testify to the truth, the whole
                                                              10· ·truth, and nothing but the truth;
  10                                                          11· · · · That I thereafter transcribed my shorthand
  11                                                          · · ·notes into typewriting and that the typewritten
                                                              12· ·transcript of said deposition is a complete, true
  12                                                          · · ·and accurate record of testimony provided by the
                                                              13· ·witness at said time to the best of my ability.
  13                                                          14· · · · I further certify (1) that I am not a relative,
  14                                                          · · ·employee or independent contractor of counsel of any
                                                              15· ·of the parties; nor a relative, employee or
  15                                                          · · ·independent contractor of the parties involved in
  16                                                          16· ·said action; nor a person financially interested in
                                                              · · ·the action; nor do I have any other relationship
  17                                                          17· ·with any of the parties or with counsel of any of
  18                                                          · · ·the parties involved in the action that may
                                                              18· ·reasonably cause my impartiality to be questioned;
  19                                                          · · ·and (2) that transcript review pursuant to
  20                                                          19· ·FRCP 30(e) was waived.
                                                              20· · · · IN WITNESS WHEREOF, I have hereunto set my hand
  21                                                          · · ·in the County of Clark, State of Nevada, this 28th
  22                                                          21· ·day of July 2024.
                                                              22
  23                                                          23
  24                                                          24· · · · · · · · · · · ·________________________________
                                                              · · · · · · · · · · · · ·Tracy A. Manning, CCR 785
  25                                                          25

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  ·1· · · · · · · · · CERTIFICATE OF DEPONENT
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  18
  19· · · · · · · · · · · · ·* * * * *
  · · · · · I, James Rothenburg, deponent herein, do hereby
  20· ·certify and declare under penalty of perjury the
  · · ·within and foregoing transcription to be my
  21· ·deposition in said action; that I have read,
  · · ·corrected and do hereby affix my signature to said
  22· ·deposition.
  23
  · · · · · · · · · · James Rothenburg
  24· · · · · · · · · Witness
  25




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